      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 11 of
                                                                     of 661




              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
                                                CIVIL ACTION FILE NO.:
v.                                              1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.

                   DECLARATION OF MARILYN MARKS

       MARILYN MARKS declares under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

      1.      I have personal knowledge of the facts stated in this declaration, and

if called to testify, I could and would testify competently thereto.

      2.      I am the Executive Director of Coalition for Good Governance

(“CGG”).

      3.      In the ordinary course of CGG’s work, CGG obtains records from

members, voters, government agencies, experts, and others in the field of election

security and governance, and makes many of those records available to interested

parties. These records include government reports, responses to Open Records Act

requests, academic and scientific studies, emails, correspondence, and other
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 22 of
                                                                     of 661




records. Attached to this declaration are true and correct copies of documents that

CGG obtained and maintained in the regular course of its work.

      4.    Exhibit 1 is a true and correct copy of an October 11, 2022 email from

Dr. J. Alex Halderman to Director of Elections Blake Evans, of the Secretary of

State’s office, which email encloses Dr. Halderman’s October 10, 2022 paper

entitled “Vulnerbility Disclosure: Privacy Flaw Affecting Dominion ICP and ICE

Tabulators.” Dr. Halderman sent this email to me in response to my request.

      5.    Exhibit 2 is a true and correct copy of a paper by Dr. Halderman and

others entitled, “ Unclear Ballot: Automated Ballot Image Manipulation.” I

obtained this paper from Dr. Halderman’s website at

https://jhalderm.com/pub/papers/unclear-evoteid19.pdf

      6.    Exhibit 3 is a true and correct copy of the Georgia Secretary of State’s

Power Point training presentation on Emergency Back Up Procedures and

Provisional Ballots that CGG obtained in response to an records request.

      7.    Exhibit 4 is a true and correct copy of the Cobb County Emergency

Action Plan provided to Cobb County Poll Workers and obtained by CGG in

response to an open records request.

      8.    Exhibit 5 is a true and correct copy of The Carter Center’s report

entitled Performance Review Board Report on Fulton County Elections conducted

                                         2
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 33 of
                                                                     of 661




for the State Election Board. I obtained the report from the Secretary of State’s

website:

https://sos.ga.gov/sites/default/files/forms/Performance%20Review%20Board%20

Report%20on%20Fulton%20County%20Elections%20%281-13-23%29.pdf

      9.     Exhibit 6 is a true and correct copy of The Carter Center’s report

entitled 2022 General Election Observation: Fulton County, Georgia. I obtained

the report from The Carter Center’s website:

https://www.cartercenter.org/resources/pdfs/peace/democracy/u_s_elections/fulton

-county-election-observation-report.pdf. CGG also obtained a copy of this report

from Fulton County in response to an open records request.

      10.    Exhibit 7 is a true and correct copy of training materials for Georgia’s

county election officials regarding post-election audits, which I obtained from the

Cobb County Elections Office in response to an open records request.

      11.    Exhibit 8 is a true and correct copy of certification statements for the

Dominion Voting System as located on the Georgia Secretary of State’s website

https://sos.ga.gov/sites/default/files/2022-02/2020_seb.pdf (specifically March 11,

2020 meeting transcript Exhibit 2.)

      12.    Exhibit 9 is a true and correct copy of the Secretary of State’s online

publication A Guide for Registered Voters, An Overview of Georgia’s Absentee

                                          3
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 44 of
                                                                     of 661




Voting Process available at

https://sos.ga.gov/sites/default/files/forms/Absentee_Voting_In_Georgia_Rev_3-

30-22.pdf

      13.   Exhibit 10 is a true and correct copy of an October 3, 2020 letter sent

by CGG’s counsel Bruce Brown to counsel for the Fulton County Board of

Registration and Elections.

      14.   Exhibit 11 is a true and correct copy of the DeKalb County Voter

Registration & Elections Board material for the July 14,2022 meeting regarding

the May 24, 2022 Commissioner District 2 Election Analysis, excerpted from the

complete board book available at

https://www.dekalbcountyga.gov/sites/default/files/users/user3597/Board%20Mate

rials%202022-07-14.pdf

      15.   Exhibit 12 is a true and correct copy of a June 3, 2022 press release

entitled “Georgia Election System Ensures Accuracy of DeKalb Results” posted on

the Georgia Secretary of State’s website at https://sos.ga.gov/news/georgia-

election-system-ensures-accuracy-dekalb-results .

      16.   Exhibit 13 is a true and correct copy of a June 7, 2022 e-mail I

received from Dr. Alex Halderman concerning a ballot image in the May 24, 2022

DeKalb election.

                                         4
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 55 of
                                                                     of 661




      17.    Exhibit 14 is a true and correct copy of a July 12, 2022 press release

entitled Secretary of State Trains Local Officials on New Voter Registration

System. https://sos.ga.gov/news/secretary-state-trains-local-officials-new-voter-

registration-system

      18.    Exhibit 15 is a true and correct copy of a ballot image from the

Barrow County November 3, 2020 election produced by the State Defendants in

the discovery process in this case.

      19.    Exhibit 16 is a photograph of a document included in the mail ballot

packet that Fulton County Elections Office sent to voters in connection with the

June 6, 2020. Exhibit 16 was sent to me by Dr. Richard DeMillo who stated it was

included in his mail ballot packet. It is identical to other notices that CGG received

from other Georgia voters with questions about the instruction.

      20.    Exhibit 17 is a true and correct copy of email exchanges on which I

was copied between CGG counsel, State Defendant’s counsel, and Cobb County

counsel regarding the retention and production of Cobb County ballot images for

the November 2020 election.

      21.    Exhibit 18 is a true and correct copy of the Election Assistance

Commission (“EAC”) publication, “Ten Things to Know About Selecting a Voting

System” available on the EAC website at

                                          5
      Case
       Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                               Document1629-9
                                        1590 Filed
                                              Filed 02/05/23
                                                    02/13/23 Page
                                                             Page 66 of
                                                                     of 661




https://www.eac.gov/documents/2017/10/14/ten-things-know-about-selecting-

voting-system.

      22.    Exhibit 19 is a true and correct copy of the transcript of Georgia’s

State Election Board meeting of September 28, 2022 posted on the Secretary of

State’s website at

https://sos.ga.gov/sites/default/files/forms/2022%20Transcripts_3.pdf

      23.    Exhibit 20 is a screenshot I made of the list of elections for which the

Secretary of State’s Office has published results on its website for the period

January 28, 2020 through January 31, 2023.

https://results.enr.clarityelections.com/GA/



      Executed on this date, February 4, 2023


                                               Marilyn Marks




                                          6
Case
Case1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document1629-9
                               1590-1 Filed
                                      Filed02/13/23
                                            02/05/23 Page
                                                     Page71of
                                                           of61
                                                              5




    EXHIBIT 1
                Case
                Case1:17-cv-02989-AT
                     1:17-cv-02989-AT Document
                                      Document1629-9
                                               1590-1 Filed
                                                      Filed02/13/23
                                                            02/05/23 Page
                                                                     Page82of
                                                                           of61
                                                                              5




From: J. Alex Halderman <jhalderm@umich.edu>
Date: Tue, Oct 11, 2022 at 7:03 AM
Subject: Vulnerability Disclosure: Privacy Flaw Affecting Dominion ICP and ICE Tabulators
To: <bevans@sos.ga.gov>
Cc: <team@dvsorder.org>


Dear Director Evans,

I am writing to notify you about a serious privacy vulnerability that affects Dominion ImageCast Precinct (ICP) and
ImageCast Evolution (ICE) tabulators. The vulnerability, which we call DVSorder, can potentially be discovered and
exploited by anyone, without any access to equipment or breach of controls. It allows anyone to "unshuffle" ballot‐level
data from these tabulators, such as ballot images or cast vote records, and learn the order in which they were scanned.
In some scenarios, this can make it possible to determine how individuals voted. The problem can potentially be
exploited by members of the public if jurisdictions release ballot‐level data.

In the attached letter, my collaborators and I further describe the vulnerability and explain how election officials can
take steps to "sanitize" ballot‐level data from affected tabulators. By properly sanitizing cast vote records and ballot
images before publishing them, jurisdictions can prevent the public from exploiting the flaw with no loss of
transparency.

Since many localities across the country are likely to publish vulnerable ballot‐level data after the November election,
we will be making our findings public this Wednesday, October 12. We suggest that jurisdictions act now to pause any
pending release of vulnerable data until appropriate measures to sanitize it are in place.

We would be happy to provide any information or help we can in support of your efforts to mitigate the vulnerability
and continue to safeguard elections.

Sincerely,

J. Alex Halderman
Professor, Computer Science and Engineering
Director, Center for Computer Security and Society
University of Michigan
https://jhalderm.com
734‐647‐1806




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                    Case
                    Case1:17-cv-02989-AT
                         1:17-cv-02989-AT Document
                                          Document1629-9
                                                   1590-1 Filed
                                                          Filed02/13/23
                                                                02/05/23 Page
                                                                         Page93of
                                                                               of61
                                                                                  5




            J. Alex Halderman • Professor

                                                                                                                     October 10, 2022

         Blake Evans
         Director of Elections
         State of Georgia

         Vulnerability Disclosure: Privacy Flaw Affecting Dominion ICP and ICE Tabulators


         Dear Director Evans:
         We are computer scientists at the University of Michigan and Auburn University. We are writing to notify
         you about a serious privacy vulnerability that affects ballot-level data produced by Dominion ImageCast
         Precinct (ICP) and ImageCast Evolution (ICE) tabulators. The vulnerability can potentially be discovered
         and exploited by anyone, without any access to equipment or breach of controls. We believe that Georgia is
         among 22 states where at least some jurisdictions use these devices.
         We were able to discovered the vulnerability, which we call DVSorder, using only publicly available
         information, so there is an appreciable risk that malicious parties may discover it independently from our
         work or have already done so. We notified Dominion about the problem on August 23 and informed EAC
         and CISA on September 2. Since many localities are likely to publish vulnerable data after the November
         election, we will be making our findings public this Wednesday, October 12. Our goal is to inform all
         entities that operate the ICP or ICE about the risks of publishing vulnerable ballot-level data and about steps
         they can take to “sanitize” such data so that the vulnerability cannot be exploited by the public. We suggest
         acting immediately to pause any pending release of vulnerable data until measures are in place to sanitize it.
         Many jurisdictions publish ballot-level election data, such as cast-vote records (CVRs) and ballot images.
         When such data is produced from ICP or ICE tabulators, the DVSorder vulnerability makes it possible for
         anyone to unshuffle the ballots and learn the order in which they were cast. In some scenarios, knowing the
         order could make it possible to identify individuals’ ballots and determine how they voted. What appear to
         be CVRs and ballot images from counties throughout Georgia are available online1 , and we have confirmed
         that we can unshuffle ballots in this data that were voted on the affected equipment.
         When a ballot is cast on an ICP or ICE, the tabulator assigns it a random-looking “record ID” number.
         Dominion’s EMS software later shuffles the data from the ballots to mask the order in which they were
         cast2 , but each ballot is still labeled with the original record ID. The vulnerability is that the ICP and ICE
         are flawed such that they assign ballot record IDs in a predictable manner. This allows anyone to use the
         record IDs in CVRs or ballot image filenames to determine the order in which the ballots were scanned.

         1 See,   e.g., https://www.zebraduck.org/election-files/georgia2020-11-03/ballot-images/ and https://ordros.com/cvr/Georgia/.
         2 Dominion   documentation implies that the shuffled data can be safely distributed without compromising privacy (e.g., https:
          //www.sos.state.co.us/pubs/elections/VotingSystems/DVS-DemocracySuite511/documentation/UG-RTR-UserGuide-5-11-CO.
          pdf#page=101: exported CVRs entail “[n]o compromise to voter privacy”), as does information Dominion provided during
          equipment purchasing in some states (e.g., https://www.michigan.gov/-/media/Project/Websites/dtmb/Procurement/Contracts/
          MiDEAL-Media/008/7700117.pdf?rev=ab164daef7e2459eb741fa7d775f64f0#page=187: “The ballot images are given a random
          ID number as their file name, and when the images are extracted by the [EMS] application, they are randomized, thus ensuring
          the ballot images are de-coupled from voter order.”).



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                 Case1:17-cv-02989-AT
                      1:17-cv-02989-AT Document
                                        Document1629-9
                                                 1590-1 Filed
                                                         Filed02/13/23
                                                               02/05/23 Page
                                                                         Page10
                                                                              4 of 5
                                                                                   61




           J. Alex Halderman • Professor




         The problem appears to affect all versions of the ICP and ICE, but it does not affect ImageCast Central
         scanners or ImageCast X DREs. Only data that represents individual ballots and their record IDs is
         vulnerable; summary results such as statements of votes cast (SoVCs), precinct- or scanner-level totals,
         election-night result reports, and poll tapes are not susceptible to the privacy flaw.
         Here are some scenarios where an attacker could exploit the flaw to identify how individuals voted:
             • In most of the country, scanners display a public
               counter that shows how many ballots have been
               cast. Anyone can note the counter value when they
               vote and thereby learn the ballot sequence numbers
               of people who vote before and after. For example,
               suppose a man uses the scanner immediately after
               his neighbor. By noting the counter value, the man
               can later identify his neighbor’s ballot in published
               CVRs or ballot images and see how she voted.
             • Poll workers or election observers could similarly note the public counter value to target specific
               voters. They could also keep a complete record of who uses the scanner, in order, which would allow
               them to deanonymize all ballots cast at the precinct.
             • Some voters publicly disclose their polling places
               and voter numbers on social media or to others,
               as in the tweet shown here. As long as the voter
               has accurately stated their position in the ballot se-
               quence, this would allow anyone to determine how
               they voted from vulnerable CVRs or ballot images,
               even for past elections.
             • Some localities publish surveillance footage from
               inside polling places. (This image is from a day-
               long video from Georgia, obtained by others prior to
               our work via an open-records request.) If the local-
               ity also releases vulnerable CVRs or ballot images,
               anyone can associate each ballot with footage of the
               voter casting it. Many jurisdictions also treat voter
               check-in records or poll books as public records.
               These can heighten the risks posed by the vulnera-
               bility, as they often track the order in which voters
               receive their ballots, which can match or closely
               approximate the order of casting.
             • Some localities publish scanner log files (slog.txt) from the ICP or ICE. Although these logs
               by themselves pose little risk to privacy, they can be combined with the DVSorder vulnerability to




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                Case
                 Case1:17-cv-02989-AT
                      1:17-cv-02989-AT Document
                                        Document1629-9
                                                 1590-1 Filed
                                                         Filed02/13/23
                                                               02/05/23 Page
                                                                         Page11
                                                                              5 of 5
                                                                                   61




           J. Alex Halderman • Professor




                determine the exact time that each CVR or ballot image was cast (subject to the accuracy of the
                scanner’s internal clock). This provides an additional route to identify voters’ ballots.

         While this vulnerability is a privacy flaw and does not directly affect the integrity of election results, the
         secret ballot is itself an important security mechanism. Some voters—particularly the most vulnerable in
         society—may face real or perceived threats of coercion if the privacy of their votes is not strongly protected.
         Nevertheless, public access to election data, including CVRs and ballot images, can be a valuable form of
         transparency that helps uphold voter confidence, so long as the data is carefully prepared to protect privacy.
         Fortunately, localities that use the ICP or ICE can prevent the DVSorder flaw from being exploited by
         the public with no loss of transparency if they take specific steps to “sanitize” ballot-level data before
         publishing it. Dominion cast-vote records (CVRs) in CSV format use a simple data scheme that can be
         sanitized manually. To do so, open the .csv file in Excel and delete column D, labeled “RecordId”, then
         save the file. Removing ballot record IDs from ballot images (where they they occur in the filenames) and
         JSON-format CVRs is more labor intensive, so we have developed a software tool to process these files.
         The tool can sanitize CVRs in .csv or .zip format and folders of ballots images in .tif format. As with
         any third-party software, jurisdictions should not run our sanitization tool on their EMS computers; instead,
         we recommend copying vulnerable CVRs or ballot images to an external system and running the tool there.
         The tool will be available as free open-source software at https://DVSorder.org/ beginning on Wednesday.
         Adequately sanitizing ballot-level data makes it just as safe to publish as if the DVSorder vulnerability did
         not exist. However, even if jurisdictions sanitize the data they make public (or if they do not publish any
         ballot-level data), the flaw still carries risks. For instance, unsanitized data could be stolen in a data breach
         or accessed by malicious insiders. Completely mitigating these risks will require Dominion to change the
         ICP and ICE firmware to use a secure method of generating ballot record IDs. The EAC has told us that
         Dominion plans to correct the flaw in a future software update, but our understanding is that no patches will
         be available (at least for federally certified versions) until after the November election. Election officials
         should contact Dominion for further information and to inquire as to patch availability.
         We would be happy to provide whatever information or help we can in support of your efforts to mitigate
         the vulnerability and strengthen the security and privacy of elections.

         Sincerely,

         J. Alex Halderman                                       Drew Springall
         Professor                                               Assistant Professor
         Computer Science & Engineering                          Computer Science and Software Engineering
         University of Michigan                                  Auburn University

         Braden Crimmins, Dhanya Narayanan, and Josiah Walker
         Student Researchers, University of Michigan



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Case1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document1629-9
                               1590-6 Filed
                                      Filed02/13/23
                                            02/05/23 Page
                                                     Page12
                                                          1 of
                                                            of44
                                                               61




    EXHIBIT 6
       Case
       Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                             Document1629-9
                                      1590-6 Filed
                                             Filed02/13/23
                                                   02/05/23 Page
                                                            Page13
                                                                 2 of
                                                                   of44
                                                                      61




         2022 General Election Observation:
               Fulton County, Georgia


Prepared by The Carter Center for the Fulton County Board of Elections and Registration and the Georgia
                 State Election Board's Performance Review Board on Dec. 15, 2022.
            Case
            Case1:17-cv-02989-AT
                 1:17-cv-02989-AT Document
                                  Document1629-9
                                           1590-6 Filed
                                                  Filed02/13/23
                                                        02/05/23 Page
                                                                 Page14
                                                                      3 of
                                                                        of44
                                                                           61



Table of Contents

Summary and Key Takeaways ........................................................................................................................................3
Background and Context on the Carter Center’s Fulton County Observation ...............................................................4
Observation Methods ......................................................................................................................................................5
    Observer Recruitment and Training ...........................................................................................................................6
    Polling Place Observer Deployment/Coverage ..........................................................................................................6
    Data Collection ...........................................................................................................................................................7
Observations on Voting (Oct. 17 – Nov. 8, 2022) ..........................................................................................................7
    General Atmosphere ...................................................................................................................................................7
    Voting Locations ........................................................................................................................................................7
        Accessibility of Voting Locations ..........................................................................................................................8
        Signage and Campaigning Outside the 150-foot Boundary ...................................................................................8
    Lines ...........................................................................................................................................................................9
    Staffing .....................................................................................................................................................................10
    Poll Openings............................................................................................................................................................11
    Voting Operations .....................................................................................................................................................12
        Check-in processes ...............................................................................................................................................12
        Voting ...................................................................................................................................................................12
            Nonstandard Processes.....................................................................................................................................13
        Accessibility of Voting Procedures ......................................................................................................................13
        Closings ................................................................................................................................................................13
        Transparency and Observer Access .....................................................................................................................14
    Other Observations of Note ......................................................................................................................................14
        Wrong Locations ..................................................................................................................................................14
        Voter Credit Error ................................................................................................................................................14
The Runoff ....................................................................................................................................................................15
Internal County Operations ...........................................................................................................................................16
    Absentee ballot applications .....................................................................................................................................16
    Absentee Ballot Processing ......................................................................................................................................16
    Election Night Drop-off ............................................................................................................................................17
    Early Tabulation & Sequestration ............................................................................................................................17
    Results Reporting......................................................................................................................................................18
Risk-limiting Audit .......................................................................................................................................................18
    Audit Premises ..........................................................................................................................................................18
    Training for Audit Boards ........................................................................................................................................18
    Vote Review Panels ..................................................................................................................................................18
    Data Entry .................................................................................................................................................................18
Conclusion.....................................................................................................................................................................19
Appendices ....................................................................................................................................................................19


                                                                                                                                                                                   2
         Case
         Case1:17-cv-02989-AT
              1:17-cv-02989-AT Document
                               Document1629-9
                                        1590-6 Filed
                                               Filed02/13/23
                                                     02/05/23 Page
                                                              Page15
                                                                   4 of
                                                                     of44
                                                                        61




Summary and Key Takeaways
The Carter Center, which has observed more than 100 elections in 39 countries since 1989, was invited by
the Georgia State Election Board-appointed Performance Review Board (PRB) and the Fulton County
Board of Elections and Registrations (BOER) to observe the Nov. 8, 2022, general election. This
observation fell under the framework of the performance review provisions of a state law known as SB202.
Although this observation was conducted at the invitation of both the Performance Review Board and the
Fulton County Board of Elections and Registration, The Carter Center conducted its observation as an
independent organization, and the conclusions herein are its own.

Carter Center nonpartisan observers collected firsthand data on early voting and election day processes, as
well as processes within the Fulton County election offices. This report summarizes the findings of The
Carter Center and is intended to assist Fulton County in the continued improvement of its election
administration processes and to inform the report of the Performance Review Board as it completes the
performance review of Fulton County.

Based on its observation of the November 2022 general elections, The Carter Center considers Fulton
County to have successfully implemented the key aspects of the elections that it observed. Within the
parameters of its observation efforts, The Carter Center did not observe any election administration
irregularities that would call into question the ability of the Fulton County Department of Registrations and
Elections to administer secure and accessible elections for the citizens of Fulton County. Indeed, the Center
noted that the Nov. 8, 2022, election showed many improvements in Fulton County’s election
administration practices compared to those noted during 2020.1 Election workers paid particular attention
to reconciliation processes, quality assurance checks, and security measures like chain-of-custody
documentation, which made a marked improvement on the overall trustworthiness of the election.

Recognizing that Fulton County strives for continuous improvement of its election administration
processes, The Carter Center offers the following summary of our observations and recommendations for
future elections:

Contextualized Training for Election Workers: Carter Center observers noted that Fulton County
election workers are generally well-trained, as demonstrated by the effective and consistent implementation
of most procedures. While some variation in the application of procedures is to be expected given the
temporary nature of the workforce, this can be minimized through poll worker training that not only focuses
on the steps of the process, but also helps workers understand the big-picture “why” of what they are doing.
At times, it seemed that election workers didn’t have a full understanding of the importance of particular
administrative steps (checking seals, for example, or providing provisional ballots) to the overall security
and accessibility of the election. A better understanding of how each step in the process fits into the multiple
layers of safeguards could ensure more consistent application.
Training should also emphasize the following procedures:
• Announcing each step of the opening and closing processes, particularly for ballot security and chain-
    of-custody steps, to enhance transparency and public confidence;
• Optimal placement of voting equipment containers to ensure ballot secrecy;
• Processes associated with nonstandard situations (e.g., provisional balloting or challenged voters);
• Pulling seals tight and immediately recording seal numbers; and,
•   Reminding voters to check their paper ballots before placing them in the scanner.

1
  Seven Hills Strategies, LLC (SHS) was contracted by the State Election Board (SEB) to serve as an independent, nonpartisan
monitor for the pre-electoral processes in Fulton County leading up to the Nov. 3, 2020, general election and January 2021 runoffs.
The report from that observation can be found here: https://www.documentcloud.org/documents/20484973-fulton-county-state-
election-board-report (accessed Dec. 10, 2022).


                                                                                                                                 3
       Case
       Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                             Document1629-9
                                      1590-6 Filed
                                             Filed02/13/23
                                                   02/05/23 Page
                                                            Page16
                                                                 5 of
                                                                   of44
                                                                      61




•   Training audit boards on the proper procedures before beginning the risk-limiting audit, ideally in the
    presence of observers.

Staffing: Overall, Carter Center observers reported that Fulton County staff and temporary election workers
were enthusiastic, took their roles seriously, and wanted to provide voters with a good voting experience.
The Carter Center notes that Fulton County met its staffing needs to administer the election, although the
Thanksgiving holiday made it more challenging to recruit for advance voting for the Dec. 6 runoff election,
as did confusion over whether Saturday voting would be allowed. Despite a long voting calendar that took
its toll on election workers, Fulton County staff demonstrated a deep commitment to the process and the
voters of Fulton County.

Voter Education about Voting Locations: On election day in both November and December, Carter Center
observers noted many instances in which voters showed up to vote at the wrong voting location. In some
cases, this resulted from confusion about the difference between voting during advance in-person voting
(at vote centers) versus election day (at assigned precincts). In others, it appeared to be the result of changes
to voting locations following redistricting. Fulton County mailed voters information about their correct
voting location, but The Carter Center suggests that more be done by the county, the political parties, and
others who conduct voter education to encourage voters to check their voting location in advance of going
out to vote on election day.

Runoff Advance Voting Locations and Check-in Processes: During advance voting for the Nov. 8
elections, Carter Center observers generally reported smooth and efficient voting processes and short wait
times. Advance voting for the Dec. 6 runoff, however, was characterized by wait times of over an hour. A
number of factors likely contributed to the length of the lines (see below for additional detail). Going
forward, the Center recommends that Fulton County open additional advance voting locations and have
additional check-in stations inside early-voting locations for federal and statewide runoffs to facilitate faster
movement of voters through the process.

Standard Operating Procedures: As Fulton County Registrations and Elections moves into its new facility
in 2023, The Carter Center encourages the department to take the opportunity to revisit and update its
standard operating procedures to help ensure consistency in procedure implementation. This was a priority
already identified by the Fulton County Department of Elections for 2023.

Sequestration During Advance Vote Tabulation: Sequestration rules for early tabulation, governing the
practice of restricting movement and communication of persons who could have knowledge of early vote totals
prior to close of polls, were not effectively enforced during the Carter Center’s observation. While we have
no reason to think this affected the election, once Fulton County’s purpose-built election space is complete
next year, a dedicated space to sequester staff and observers should be made available for this purpose.
Elections staff should also be trained to enforce the rules directly, rather than relying on temporary security
staff.


Background and Context on the Carter Center’s Fulton County
Observation
In August 2021, in response to a request from the Georgia General Assembly, the Georgia State Election
Board appointed a Performance Review Board (PRB) to conduct a performance review of the Fulton
County Board of Elections and Registration (Fulton BOER) pursuant to OCGA § 21-2-106. The duty of
the PRB is to make a thorough and complete investigation and issue a written report of its findings to the
Secretary of State (SOS), the State Election Board (SEB), and the local governing authority that shall



                                                                                                               4
        Case
        Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                              Document1629-9
                                       1590-6 Filed
                                              Filed02/13/23
                                                    02/05/23 Page
                                                             Page17
                                                                  6 of
                                                                    of44
                                                                       61



include such evaluations, judgments, and recommendations as it deems appropriate. See OCGA § 21-2-
106.

As part of the performance review process, the PRB conducted interviews of Fulton BOER staff and
observed election processes, absentee ballot processing, early voting, and election day voting. To fulfill its
duties under Georgia law, the PRB wanted to conduct further observation and analysis during the November
2022 general election in Fulton County. This observation effort would allow the PRB to complete its report
by the end of the 2022 calendar year.

Recognizing the Carter Center’s decades of experience with independent and impartial analysis of elections
and election observation, the PRB, SEB, and Fulton BOER agreed that the Carter Center’s independent and
objective analysis would be beneficial to all parties within the framework of the ongoing performance
review. To that end, and at the invitation of the PRB and Fulton BOER, The Carter Center agreed to conduct
independent, nonpartisan observation of the Nov. 8, 2022, general election. This invitation was formalized
in a memorandum of understanding (MOU) that was entered into on Oct. 13, 2022, following a 4-1 vote of
approval by the Fulton BOER.

The Carter Center did not conduct this observation on behalf of the PRB, SEB, or Fulton BOER; this report
makes its observations and analysis available to the PRB so that additional independent and objective
analysis can inform the PRB’s report to the SEB.

Under the MOU (see Appendix 1), the Carter Center’s specific scope of work for this observation effort
included observation of early voting, election day polling places, and procedures at the Fulton County
election office before and after election day. Carter Center observation efforts began on Oct. 17, 2022, and
continued through the Dec. 6 runoff. The Carter Center agreed to make its final report available to both the
PRB and the Fulton BOER simultaneously on Dec. 15, 2022.

In conducting this observation effort, The Carter Center received the full cooperation of the Fulton County
Department of Registrations and Elections. In particular, the Fulton County interim director of registrations
and elections, Nadine Williams, and her deputy, Patrick Eskridge, made themselves and other staff available
to The Carter Center team to respond to any and all questions.2

Observation Methods
Nonpartisan election observation is an impartial process where observers systematically gather data to
determine whether an election was fair, peaceful, and credible. Unlike partisan observers — also called
“challengers” or “poll watchers” — who generally look for activity that could undermine their own party’s
or candidate’s interests, nonpartisan observers have no stake in the election outcome. They do not interfere
in the election day process, even if they see something take place that should not happen. They are trained
to understand the election process as specified by law and report on whether election day procedures are
being correctly followed.

The Carter Center has observed more than 100 elections in 39 countries since 1989 and was a pioneer in
establishing the election observation methods now widely used around the world. The Carter Center’s
election observation approach focuses not only on areas for improvement but also on strengths that should
be replicated in the future to ensure the validity, fairness and accuracy of an election process that is secure
and accessible for voters.



2
 Nadine Williams has served as the interim elections director since the departure of Richard Barron from the post on
April 1, 2022.


                                                                                                                  5
        Case
        Case1:17-cv-02989-AT
             1:17-cv-02989-AT Document
                              Document1629-9
                                       1590-6 Filed
                                              Filed02/13/23
                                                    02/05/23 Page
                                                             Page18
                                                                  7 of
                                                                    of44
                                                                       61



The Carter Center’s analysis is based on direct observation, desk analysis of documents provided by Fulton
County, and conversations with Fulton County elections staff. This report captures the analysis of data
collected over the eight weeks between Oct. 17 and Dec. 12, 2022.3

Observer Recruitment and Training
The Carter Center’s election observation efforts were supported both by subject matter experts in the field
of elections and election administration and by volunteers. Subject matter experts (often former election
administrators or individuals who have worked closely with election administrators) observed processes
within Fulton County’s election office as well as some aspects of the voting process. Carter Center volunteer
observers watched processes at voting locations only.

Carter Center volunteer observers were recruited through several channels, including from among the
Carter Center’s staff, volunteers, and interns; the Carter Center’s Board of Councilors (made up of
community and business leaders in the Atlanta area); the Democracy Resilience Network (a Georgia-based
cross-partisan group of community leaders); and faculty and students from Atlanta area colleges and
universities, including Emory, Georgia Tech, Georgia State, and Morehouse.

The Carter Center required all observers to attend training, virtually or in person, sign a code of conduct
for nonpartisan election observers (see appendices), and receive proper observation credentials. Observer
training focused on polling place procedures, data collection methods, the roles and responsibilities of
nonpartisan observers, and the observer code of conduct. All Carter Center observers were U.S. citizens.

Polling Place Observer Deployment/Coverage
During the early voting period for the Nov. 8 election, The Carter Center deployed 64 observers to all 36
early voting locations (vote centers) and the four “outreach” advance voting locations, collecting over 330
observation reports on early voting. Each early voting center was observed at least six times. Each outreach
location was observed at least once during early voting. Observers were deployed in approximately six-
hour shifts to a cluster of four voting locations organized by geographic proximity to one another.4 Carter
Center observers were not able to observe opening through closing of the polls in every location for every
day of early voting or election day.5

On Nov. 8, the Center deployed 104 observers to 217 of 249 Fulton County polling locations. Each observer
was assigned two to three polling places grouped by geographic proximity to one another. Of the 32 election
day polling places not observed, 12 were early voting locations The Carter Center had already observed
numerous times, leaving only 20 polling places unobserved.

Two Carter Center observers also attended the Nov. 17 risk-limiting audit in Fulton County.

For the Dec. 6 runoff, the Center’s observation footprint was much smaller, with eight observers who
followed up on a small number of preliminary findings from the Nov. 8 election observation effort. This
smaller-scale effort was in part necessitated by the completion of this report by the Dec. 15 deadline.


3
  The Carter Center notes that by Oct. 17, many preelection processes were already complete or near complete. As
such, the Center is unable to offer an assessment of those processes. If similar observations are undertaken in the
context of future reviews, an earlier start date for the effort is recommended to allow for additional areas of
observation.
4
  The Carter Center deployed observers every day of early voting, except for Oct. 18. This was due to volunteer
shortages that day.
5
  Carter Center observers were present for poll opening at 26 early voting locations and 63 election day locations and
at poll closing at 23 early voting locations and 61 election day locations.


                                                                                                                    6
       Case
       Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                             Document1629-9
                                      1590-6 Filed
                                             Filed02/13/23
                                                   02/05/23 Page
                                                            Page19
                                                                 8 of
                                                                   of44
                                                                      61




Data Collection
Carter Center election observers always use data collection instruments to ensure the systematic collection
of information about the processes observed. For the Fulton County observation, Carter Center volunteer
observers used paper checklists to avoid the use of mobile telephones in polling places. The checklists
included questions about the exterior and interior of polling places, accessibility, staffing, equipment, voting
procedures, efficiency, special circumstances, and a space for additional notes. Subject matter experts also
collected qualitative information about the processes that they observed.6 The Carter Center also held
multiple virtual debriefing sessions following both early voting and election day to collect more qualitative
data about observation. This report summarizes and synthesizes the data collected through these methods.

Observations on Voting (Oct. 17 – Nov. 8, 2022)
Advance voting for the November general election took place in 36 early voting centers across Fulton
County from Oct. 17 through Nov. 4, 2022. In addition, the county opened four outreach locations on
college campuses. These outreach locations were open for two days each during the 19 days of early voting.
Voting took place at 249 polling places on election day.

As outlined above, The Carter Center observed advance voting at each of the advance voting locations on
multiple days in advance of the Nov. 8 elections, and at about 87% of election day locations. The Carter
Center observations recorded here draw from data collected during the Oct. 17-Nov. 8 period. Observations
regarding the runoff are included below.

General Atmosphere
Carter Center observers noted the calm and peaceful atmosphere that characterized both the early voting
and election day processes. There were no reports of systematic voter intimidation or anyone blocking
access to the polls. During early voting, there was only one report of unusual or potentially disruptive
activity outside the early voting locations observed, and election workers promptly addressed the issue.
Similarly, on election day, observers noted one instance of poll workers disrupting operations and arguing
with a poll manager, but the offending parties were quickly removed and replaced. A security presence was
standard across the majority of polling places both during early voting and on election day.

Voting Locations
Voting took place in a variety of locations in Fulton County, from schools to churches to art museums. The
Carter Center observers noted that each location affected the voter experience differently.

Early voting locations were often public libraries, community or senior centers, gyms, government
facilities, or public spaces (e.g., the High Museum). Carter Center observers reported that some locations
were more suitable for use as voting locations than others. In some cases, there was adequate space to
accommodate election equipment and facilitate the movement of voters; in other cases, the space was more
restricted. Gyms and government buildings provided more space for voting, while libraries tended to be
more challenging. Observers noted that the space in eight of the 17 libraries used for early voting affected
the flow and movement of voters around the polling place but did not appear to deter voters from casting
their ballots.

In some cases, the small space available for early voting limited the ability of party poll watchers and
nonpartisan observers to easily observe the voting process, as they had to be seated out of the way. In a
small number of cases, it was also noted that the space restrictions could make it more difficult for voters

6
 Observations were entered into an Excel form in a secure environment (through Microsoft forms) for analysis by the
Carter Center team.


                                                                                                                 7
       Case
       Case1:17-cv-02989-AT
            1:17-cv-02989-AT Document
                             Document1629-9
                                      1590-6 Filed
                                             Filed02/13/23
                                                   02/05/23 Page
                                                            Page20
                                                                 9 of
                                                                   of44
                                                                      61



in wheelchairs to maneuver around a polling place. Parking was noted as a specific challenge at a few
locations, either because the lot was small or because there was a parking structure or other facility that was
challenging to navigate or required parking validation.

On election day, two locations were highlighted as being especially hard to find: The Center for Civil &
Human Rights and the Sandtown Middle School. Where only a portion of the area/campus is being used,
especially an area away from the main access point, additional signage would be helpful. Observers reported
adequate parking capacity in over 95% of locations but noted that three locations (West Manor Road
Recreation Center, Dogwood Senior Center, and the Center for Civil & Human Rights) lacked capacity.

Locations using paid parking lots or garages for voter or poll worker parking on election day were uniquely
problematic, with observers noting that it was often unclear whether free parking was available and where
it was available. Observers also reported cars being booted or towed at two locations, requiring election
officials to take time away from their duties to address the situation and, in at least one case at Morehouse
College’s Archer Hall, incur costs to retrieve their vehicles.

Accessibility of Voting Locations
Overall, the locations selected for voting appeared to be accessible for persons with disabilities. Clearly
marked accessible parking, an easily accessible entrance, and a clear path to allow voters with disabilities
access to the location were present at over 90% of voting locations observed on election day, and those
percentages were even higher during advance voting. For urban locations using garages, Fulton County
could consider temporary street parking right in front of the building as an alternative.

Most sites used the main entrance to the building as the accessible entrance. However, when separate
entrances were used, observers noted that additional signage directing voters to the accessible entrance
would have been useful (e.g., Dad’s Garage Theater, Bethune Elementary, Birmingham Falls Elementary,
New Prospect Elementary). Approximately 13% of election day sites lacked a working automatic door
opener and had doors too heavy to open comfortably from a seated position; for these reasons, The Carter
Center suggests propping exterior doors open (weather permitting) or stationing a poll worker at the
entrance to assist voters.

Signage and Campaigning Outside the 150-foot Boundary
Most advance voting and election day locations for the Nov. 8 election were clearly marked with exterior
signage. In a small number of early voting locations, signage was missing. The 150-foot boundary was
marked in most locations during early voting and on election day. However, it was noted that the 150-foot
campaigning boundary sign was sometimes hard to find and even harder to read. The Center recommends
the state review the design of the sign, and Fulton County move to using lawn or A-frame signs to indicate
the boundary.

Of the more than 330 observations over the 19 days of early voting, observers only noted eight instances of
campaign materials being placed within the 150-foot boundary. During subsequent observation at those
locations, the campaign materials were moved back outside the 150-foot radius, indicating that election
teams were monitoring this and taking measures to ensure that rules were followed.

On election day, signs at locations where precincts had changed were helpful but also may have caused
misunderstandings, with observers noting that it sometimes appeared that a location was not in use rather
than simply being used for a different precinct. For the future, signs stating the precincts served at each
location, in addition to any that are no longer in use, would be ideal.




                                                                                                             8
        Case 1:17-cv-02989-AT Document 1629-9
                                       1590-6 Filed 02/13/23
                                                    02/05/23 Page 21
                                                                  10 of 61
                                                                        44




Lines
During early voting for the Nov. 8 elections, lines were generally short at locations observed by the Center.
Wait times varied from none to a maximum of 25 minutes at a handful of locations across the early voting
period. The last day of early voting saw longer lines, with Metropolitan Library experiencing particularly
long lines. This may have been exacerbated by a get-out-the-vote event nearby which was reportedly
driving voters to that location to vote. Voters over the age of 75 and those with disabilities were consistently
allowed to move to the front of the line.

Wait times observed at election day sites on Nov. 8 generally stayed under 15 minutes throughout the day,
apart from lines at the beginning and end of the day. Most voters waited far less than 15 minutes, with 57%
of sites observed having no wait at all and another 38% at five minutes or less during observation. Lines at
opening were manageable at all locations observed on Nov. 8, with the longest line at 43 people, and
observers reported that lines cleared quickly.

The voter throughput for polling places on Election Day was an average of 36 voters per hour, with an
hourly distribution shown in Figure 1. This is faster than voting progressed during advance voting, which
averaged around 32 voters per hour (Figure 2), chiefly due to the simplified check-in process on election
day: no application requirement to vote in-person absentee; voter confirmation via ID scan rather than
manual entry; and no precinct configuration requirement when programming ballot activation cards.

Figure 1




                                                                                                              9
       Case 1:17-cv-02989-AT Document 1629-9
                                      1590-6 Filed 02/13/23
                                                   02/05/23 Page 22
                                                                 11 of 61
                                                                       44



Figure 2




Staffing
Voting locations were staffed by teams that included a poll manager, assistant poll manager(s), clerks, a
technician, a line manager, and a compliance officer. A public safety officer was present and visible at most
locations observed.

Observers noted the friendly and enthusiastic attitudes of election workers at many voting locations, that
they were helpful and supportive of voters, and that there was a strong emphasis on customer service.
Observers commented that election administration staff took their roles seriously and recognized the
significance of their work.

During advance voting, Carter Center observers found that many poll managers had considerable
experience working the polls and that this was particularly beneficial in ensuring the smooth operation of
advance voting centers — a difference from election day, when many more inexperienced staff were
working. Even with the mix of experience among election workers on election day, the consistent grasp of
their various tasks across locations indicated a successful training program. The emphasis placed on training
workers for particular roles, rather than cross-training every worker in everything, paid dividends.

In particular, the presence of two specific roles — early voting compliance officers, tasked with performing
quality assurance measures like ballot reconciliation throughout the day, and technical personnel, trained
to troubleshoot machines — were especially helpful in streamlining processes and enhancing efficiency.
On election day, several observers noted that locations reporting IT problems during setup waited for
technical support when voting began. The Carter Center understands that Fulton County’s goal is to have a
trained technician at every voting location and agrees that having more technical personnel available,
especially early on election day, would be helpful.

In almost all cases, the early voting locations had sufficient staff to ensure the smooth operation of the
voting center. Likewise, the number of poll workers recruited for election day was adequate. Over 90% of
locations observed had all assigned staff in attendance on Nov. 8, and the county ensured that replacements
were available and ready to fill gaps where needed.

The use of staffing agencies for election worker recruitment continues to pose challenges regarding
temporary election staff retention. This election, an increase in pay (minimum $15/hour) for early voting


                                                                                                          10
       Case 1:17-cv-02989-AT Document 1629-9
                                      1590-6 Filed 02/13/23
                                                   02/05/23 Page 23
                                                                 12 of 61
                                                                       44



and election day workers appears to have helped to attract temporary workers. However, the 14-hour
workdays over 19 days of early voting did take a toll. In addition, recruiting staff for the runoff was a
challenge given the Thanksgiving holiday.

The Fulton County call center was staffed by 20-30 people (depending on whether it was the early voting
period or election day). The call center appeared to be responsive to the needs of poll managers.

As noted above, Fulton County opened outreach locations on college campuses during early voting. Of the
advance voting locations observed, the outreach locations appeared to have the most significant staffing
challenges. Experienced poll managers were working with inexperienced staff — often students — at times
giving them on-the-job training. At two outreach locations, observers reported that the flow of voters was
confusing. Additional training for student poll workers would be helpful, with an emphasis on directing
traffic in the polling location.

Poll Openings
The Carter Center observed 47 openings of advance voting locations across the county and 63 openings on
Nov. 8. In several cases, observers arrived at the advance voting locations at 6:15 a.m. to find that the
advance voting center was already set for the opening. Like the experience during early voting, observers
arriving at 6 a.m. on election day often found voting sites already set up, as poll workers had arrived at 5
a.m.7

Ballot chain of custody and machine security measures, like checking and recording seal numbers, were
generally consistent. However, it was clear that poll workers did not understand why these steps were
required. They were simply focused on completing their paperwork and, without an understanding of why
they were recording numbers on various “recap” sheets, often took simplifying shortcuts. For example,
practices like cutting all the seals off at once and recording the seal numbers afterward, or recording the
seal numbers before putting the seals on, streamline the process but also separate the act of
checking/recording the seal number from opening/closing the machines. If an incorrect seal number had
been found under these circumstances, for example, it might not have been discovered until after the seal
was cut and the machine opened, which defeats the purpose. Additionally, poll workers need to pull the
zip-tie-style seals tight, closing the loop of the seal as much as possible, to minimize the opportunity for
tampering. Placing more emphasis on the purpose of recap paperwork and seal procedures during training
would help poll workers better understand their role in the election security process.
In many instances, election workers moved through the opening procedures to maximize efficiency,
following procedures but not taking the time to explain what they were doing to party poll watchers or
observers. This would be a valuable and simple way to increase transparency in the process.

Wall space was often inadequate for the number of signs required, and election workers struggled to find
space. Since many of the state-mandated signs are clearly perfunctory, with text that is both too small and
too lengthy to read in the context of voting (see appendices), we recommend that the state reassess signage
requirements in view of what is both practical and useful. Including nonessential signage may train voters
to ignore signage altogether, missing notices that are necessary to read.

Over 80% of early voting locations and 90% of election day polling places were rated by Carter Center
observers as “good” or “very good” on their opening procedures, and none were ranked below “average.”




7
  In these cases, observers backfilled by asking questions where procedures appeared to have been completed before
their arrival.


                                                                                                               11
        Case 1:17-cv-02989-AT Document 1629-9
                                       1590-6 Filed 02/13/23
                                                    02/05/23 Page 24
                                                                  13 of 61
                                                                        44




Voting Operations
Carter Center observers reported that early voting was largely well-run, with only one observation noting
below-average ratings during the time of observation.8 Fulton County’s election day voting locations were
consistently well run, with 93% of observed locations rated as “very good” or “good” by Carter Center
observers and no location rated below “average.”

Check-in processes
During advance voting, Carter Center observers noted that check-in procedures were followed. There were
a few instances where voters expressed confusion about the paper absentee ballot application form that
needs to be completed during advance voting check-in. Election officials were generally able to explain the
process to voters.

On election day, general procedures for voter check-in, including verifying voters’ identity, confirming
eligibility, and preparing a ballot activation card, were completed smoothly and consistently across the
board.

Voting
Voting processes generally unfolded smoothly at locations where The Carter Center observed. Voters
appeared able to use the ballot marking devices (BMDs) and ballot scanners without confusion — observers
noted that there is now a level of familiarity with the equipment for many voters. Indeed, on election day,
95% of observers reported that both BMDs and scanners were used without confusion by voters, and poll
workers were available to help answer questions that did arise. It was noted that at times acceptance of the
ballot by scanners took several tries.

Carter Center observers noted that the equipment containers used by Fulton County made voting location
setup efficient and easy for election workers. While equipment containers have many benefits with regard
to ease of transportation and setup, observers also noted several challenges:
• The size of the containers in the smaller voting locations made the locations especially cramped (see
    points on size of locations — particularly for early voting — above);
• The height and angle of the BMD screen within the equipment container inadvertently undermined the
    secrecy of the voting process, especially in locations where tight space did not allow for optimal
    placement of the equipment containers (see voting location diagrams in Appendices). Voters’ bodies
    could not always adequately shield the screen while they were voting, though Carter Center observers
    noted that this did not appear to deter voters from participating. Going forward, the doors to the
    containers should be more consistently used as privacy screens to block visibility from the side and, if
    possible, the angle of the screen adjusted to help increase voter privacy. Privacy filters for the screens
    could also be considered, although they would need to be tested to ensure that they did not negatively
    impact overall usability.

During early voting, Carter Center observers reported several instances where election workers quickly
addressed voter cell phone usage inside the early voting locations. Unrestricted phone usage was much
higher during election day than during early voting, with 43% of observers reporting that phones were used
at their location.

Carter Center observers noted that election workers rarely verbally prompted voters to review their paper
ballots before inserting them into the scanner, although they noted that some voters did so anyway. Forty

8
 The below average rating was for the outreach location referenced above where there was more confusion about
processes than at other locations observed. This did not appear to deter voters from voting or have other effects on the
process.


                                                                                                                     12
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 25
                                                                    14 of 61
                                                                          44



percent of observations from early voting and 49% of election day observations record that voters were
never asked to review their ballots. Given that voter review of the human-readable text on the paper ballot
is essential to ensuring an auditable paper trail and codified by administrative rule,9 The Carter Center
strongly recommends re-emphasizing this point in poll worker training and ensuring that this becomes a
standard part of procedure for the staff working the scanner. (It should be noted that signage to this effect
was present but has been shown to be relatively ineffective; verbal prompts, generally by the poll worker
at the ballot scanner, are considered best practice.)

Nonstandard Processes
Nonstandard processes like voter challenges, provisional ballots, and canceling mail absentee ballots were
rare, but the process widely varied from place to place. Many poll workers were unsure of how to proceed
even after reviewing documentation and simply called their regional manager for guidance. The Carter
Center recommends implementing that escalation path as the standard practice, as those who tried to
complete these procedures alone were not always successful. In addition, providing very clear step-by-step
checklists/decision trees for each scenario would be helpful.

Provisional ballots, in particular, create a burden for poll workers. Training on the subject was made
significantly harder by SB202, which added complexity to the circumstances under which a provisional
ballot should be completed. Despite these challenges, provisional ballots provide one of the best stopgaps
against administrative problems that could otherwise disenfranchise voters. Fulton County can and should
place greater emphasis on provisional ballot procedures and importance during poll worker training, to
ensure that provisional ballots are readily available when voters need them.

Accessibility of Voting Procedures
In all locations, accessible BMDs and lower scanners were available for use by people with disabilities,
though the angle of the screen at the accessible BMD was described as difficult for some as it required
raising one’s arm to head height or higher to vote.

Observers noted several instances of voters requiring assistance to vote. Election workers followed the
procedures, requiring those giving assistance to sign the appropriate assistance form. In addition, during
advance voting, observers reported a few instances where language assistance was requested. After a phone
call and a short wait, an interpreter would arrive to help. On election day, language assistance was requested
in 11 locations and generally provided. In a single instance, the poll manager expressed the view that voters
didn’t need translated ballots since it was “just names” that they needed to read (though we note that the
general election ballot also contains instructions and ballot initiative text that should be translated).

Closings
The Carter Center collected 41 observations on the closing process during early voting for the Nov. 8
election and 61 on election day. Carter Center observers rated all advance voting closings but one as
“average,” “good,” or “very good.” On election day, all but three were rated at least “average,” with the
three locations rated negatively suffering from inexperienced poll managers who had difficulty completing
the closing procedures in a timely manner after polls closed at 7 p.m.

As with openings, in many cases observers noted election workers moved through the closing process with
efficiency as a key consideration. However, they often did not take the time to explain what they were doing
as they moved through the closing process, making it difficult for party poll watchers and Carter Center
observers to follow along. Where observers could follow the process more closely, they noted that while


9
    Rule 183-1-12-.11 (8)


                                                                                                           13
       Case 1:17-cv-02989-AT Document 1629-9
                                      1590-6 Filed 02/13/23
                                                   02/05/23 Page 26
                                                                 15 of 61
                                                                       44



there was some variability in the implementation of closing procedures, steps related to the chain of custody
and the integrity of the election equipment were generally consistently followed.

Transparency and Observer Access
Carter Center observers noted party poll watchers in about one-third of early voting observations for the
Nov. 8 election. During advance voting, Democratic Party monitors were observed almost twice as
frequently as Republican Party monitors. In less than 10% of reports did Carter Center observers note the
presence of both parties. On election day, the number of Democratic and Republican party monitors was
more even, but both parties were present in just 6% of polling places observed. In a small number of
locations, representatives of third parties were present.

Throughout the process, party poll watchers largely conducted themselves according to Fulton County’s
observer guidelines at almost all locations observed. In three cases during early voting, Carter Center
observers noted that poll watchers were disruptive — in particular, speaking loudly in the quieter
environment of the polling location and sometimes promoting partisan views. Poll watcher credentials were
not consistently checked in places where the Center observed.

As many as 12% of early voting observation reports mentioned some limitation on the ability of observers
to watch the process. Often this was because party poll watchers and observers were seated in spaces that
restricted their ability to observe key procedures due to space constraints. In these cases, observers were
often allowed to move around and check scanner numbers etc. when there were no voters present.

In a few instances, Carter Center observers were not initially granted access to observe early voting by the
poll manager. This was generally addressed by a phone call to the poll manager from the Fulton County
interim elections director. On election day, poll workers were not always aware that observers were allowed
to witness the voting location setup procedures and seemed uncomfortable allowing access to polling
locations before 7 a.m., even to observers with credentials and badges. Several observers were denied entry
and so were unable to observe opening procedures. In all cases, observer access was resolved.

Other Observations of Note
Wrong Locations
On election day, Carter Center observers at specific locations noted significant numbers of voters turned
away because they were not at their correct polling place, including: Buckhead Library, North Fulton
Annex, St. James UM Church, Adams Park Library, Therrell D.M. High School, Love T. Nolan
Elementary, Springfield Missionary Baptist Church, Metropolitan Library, East Point First Mallalieu UM
Church, and Roswell Library. Some confusion is generally present when moving from vote centers during
early voting, where voters can choose to vote at any location, to assigned polling places on election day.
However, the fact that this was a significant problem for large numbers of voters beyond the sites also in
use for early voting indicates a larger issue. The most logical explanation is that changes to assigned
locations due to redistricting were to blame. Redistricting after the 2020 census occurred between the
primary and general elections this year, and we note that Fulton County notified voters whose precincts had
changed via postcards mailed prior to the election. However, the impact of redistricting seemed to be largely
ignored by the political parties. Parties provided the most widespread communications prior to the election
but failed to warn voters that their assigned location may have changed.

Voter Credit Error
In one location, a Carter Center observer noted that poll workers had an “Application to Vote Early In-
Person” form that they could not finish processing as the statewide voter registration database indicated the
voter had already voted the day before at a different early voting location. The poll worker did not note the
presence of an earlier ballot record during the check-in process for the voter (during which they added a


                                                                                                          14
        Case 1:17-cv-02989-AT Document 1629-9
                                       1590-6 Filed 02/13/23
                                                    02/05/23 Page 27
                                                                  16 of 61
                                                                        44



new ballot record in the statewide voter registration database but did not finish processing it), so the voter
was allowed to vote. Only when poll workers did final data entry for that application later in the night,
checking they had entered information correctly and processing the added ballot records in the database,
did the system prevent them from entering a duplicate record. The poll manager at the early voting location
responded quickly and effectively and immediately called her supervisors for assistance. The Carter Center
also raised this case with the Fulton County Elections Department and was subsequently informed that the
case had been elevated to the Office of the Secretary of State for further investigation (which is ongoing at
the time of writing this report).

The Carter Center cannot confirm that this was a case of double voting. It could have been the result of data
entry error at either of the early voting locations. The poll manager should be commended for identifying
the error during her reconciliation process and taking the appropriate steps to ensure timely resolution of
the issue through the correct channels. Looking forward, ensuring that the ballot record for the voter is
completely created during voter check-in, with voter credit assigned is critical. The introduction of new
early voting check-in practices (to be rolled out statewide in 2023 in advance of the 2024 elections) may
also help reduce the opportunity for error.

The Runoff
The Carter Center deployed a smaller number of observers for the runoff to follow up on outstanding
questions from the Nov. 8 observation effort. Carter Center observers found many aspects of the process
on Dec. 6 to be like those observed in November. The principal difference, well reported in the press, was
the longer wait times at early voting locations.

Early voting for the Dec. 6 runoff election took place in 24 locations around the county and at three outreach
locations on college campuses. The outreach locations were open for two to three days during the seven
days of early voting. According to Fulton County, the reduction in locations was the result of budgetary
constraints and the considerable challenge of recruiting sufficient staff over the Thanksgiving holiday (the
latter shared by other counties). Runoffs also tend to have significantly lower voter turnout, which may also
have been a factor in deciding to open fewer locations.

During early voting for the Dec. 6 runoff election, lines were considerably longer than in November, with
wait times of an hour or more at many of the locations on multiple days during the seven-day voting period.
This may be explained by a number of factors, including: voter enthusiasm (news outlets reported voters
lining up hours in advance of polls opening); the shorter timeframe for early voting for the runoff (seven
days as opposed to 19 days); and the reduced number of early voting locations.10 It should be noted that
several of the more populous counties around Georgia experienced longer wait times for the runoff than for
the Nov. 8 elections.

Observers noted that the check-in process caused a bottleneck within polling places, as election workers
completed the multistep process for a high volume of voters during the condensed early voting timeframe.
Locations observed addressed this problem differently; some locations allowed voters to fill in most of the
form while waiting in line, which allowed voters to move through the check-in process much more quickly.
In other locations, the voters completed the form at the check-in table; observers noted that this slowed the
check-in process considerably. The new check-in process to be rolled out statewide in 2023 should help
address these delays by streamlining the process.11 The Center also recommends that additional early voting


10
   188,003 people voted early in person for the Dec. 6, 2022, runoff election (https://sos.ga.gov/data-hub-december-
6-2022-runoff accessed Dec. 11, 2022)
11
   For example, Cobb County, which piloted the use of the new check-in process in the 2022 midterm elections,
appeared to have consistently shorter wait times at early voting locations.


                                                                                                                 15
       Case 1:17-cv-02989-AT Document 1629-9
                                      1590-6 Filed 02/13/23
                                                   02/05/23 Page 28
                                                                 17 of 61
                                                                       44



locations be opened for federal and statewide runoffs in the future, and that appropriate budgetary
allocations be made to accommodate this need.

Election day was markedly different from the early voting experience. Voters were processed quickly and
seldom had to wait more than a few minutes.

Internal County Operations
Absentee ballot applications
Absentee ballot processing began with the applications, which were received from five different sources.
Observers witnessed paper applications received by the mailroom, timestamped, opened, and batched in
groups of 50 for processing. Batch cover sheets were used to track each group of 50 through the process,
recording the total accepted or rejected, and counts were reconciled each night. Electronic applications were
also printed, and all applications were scanned, ensuring both a paper and electronic record. Totals of
applications received and processed were reconciled to the voter registration database each night.

Fulton County, like some other counties in Georgia, uses a process where rejected absentee ballot
applications are returned to the voter with a provisional ballot included in addition to the paperwork needed
to cure the application. This streamlines the process considerably as a voter can complete the cure
paperwork and return a marked provisional ballot in a single step. Assuming the cure of the application is
successful and no further errors are found, the provisional ballot can be counted.

Absentee Ballot Processing
Fulton County took full advantage of the opportunity to process absentee ballots prior to election day,
beginning the process on Monday, October 31, after issuing a notice of its intent to do so. Carter Center
observers and party poll watchers were in attendance during the process. This extra processing time ensured
that mail ballots did not accumulate and could be dealt with promptly.

Observers witnessed absentee ballot processing from initial receipt, logging, and storage to the verification,
opening of envelopes, ballot extraction and flattening, vote review and duplication (where necessary), and
eventual tabulation. Best practices were evident at each step in the process, including using small batches
(50 ballots), tracking each batch via a cover sheet that logged any ballots that were removed for further
processing (e.g., rejected during verification, or needing to be duplicated before tabulation), and reconciling
counts of ballots at various stages throughout the process.

Election law changes in SB202, requiring that both absentee applications and completed ballots include a
driver’s license/state ID number or other acceptable photo ID as proof of identity, have eliminated the need
for election officials to match signatures. This has streamlined the process and made it easier for election
officials since they can simply check that all the necessary information is present and correct.

Vote review panels, comprised of both a Republican and a Democrat, were comfortable with the process
used to duplicate unreadable ballots and were able to review and interpret ballots efficiently. While most
panels were following the standard procedure, having both members look at each vote on the ballot and
both members confirm that it matched the vote entered on screen, a few teams had only one person reading
the ballot and the other only entering data. Reminding panels of the importance of checking each other’s
work will ensure that each duplicated ballot goes through consistent checks and balances.




                                                                                                            16
       Case 1:17-cv-02989-AT Document 1629-9
                                      1590-6 Filed 02/13/23
                                                   02/05/23 Page 29
                                                                 18 of 61
                                                                       44




Election Night Drop-off
On election night, nine intermediate drop-off locations throughout the county were set up to receive
materials from the precincts. Not only did this prevent a high number of people and cars at the main Election
Preparation Center warehouse, but it also allowed for a detailed inventory of materials to be compiled very
quickly after polls closed. Fulton County split the deliveries from the precincts into two groups; runners
from each voting location, responsible only for the memory cards from the scanners, were dispatched to the
drop-off location as soon as possible. All the other materials, including completed ballots, followed in a
separate delivery. Once all the memory cards had been received at a particular drop-off location, they could
be transferred to the Election Preparation Center — escorted by police — without delay. For the most part,
this system worked well. Observers noted that some precincts went to the wrong drop-off location, so
providing a phone list for the precincts would have been helpful in coordinating the proper destinations.

Sites consistently had problems with the handheld scanners used to log materials into the electronic
inventory system, perhaps due to limited internet connectivity, but they had ample paper records as an
alternative. Different drop-off sites also had varying procedures for fixing problems (e.g., a bag accidentally
sealed inside another bag. Some site managers would break seals, noting the action on the chain-of-custody
forms, remedy the situation, reseal the container, and note the new seal number on the form. Others were
adamant about not breaking seals to fix anything, simply recording the problems on the chain-of-custody
forms. Retraining personnel on which method is preferred would be helpful for future elections.

Early Tabulation & Sequestration
Sequestration — the practice of restricting movement and communication for those who could have
knowledge of early vote totals until the close of polls when totals can legally be released — during early
tabulation of absentee ballots on election day (required by O.C.G.A. § 21-2-386 (a)(6)) is one of the few
areas where Fulton County could make considerable improvements. Due to space constraints, early
tabulation was done in one section of the main floor at the Election Preparation Center warehouse rather
than in an enclosed space. No attempt was made to sequester staff, and they were using cell phones
throughout the day, often walking in and out of the tabulation area to attend to other duties. Observers were
similarly not constrained and were allowed to use cell phones and walk in and out freely for most of the
day. One member of the public was even soliciting in the area during the general election, handing business
cards to observers and vote review panelists. A modest attempt was made to limit observers’ cell phone use
after a complaint was made, but unfortunately, the security guard informed observers that they could simply
leave the room if they wanted to make a call.

During the runoff election, the processes improved somewhat, as cell phones were taken from observers
before entering the room. However, both observers and staff were still allowed in and out of the sequestered
area and able to retrieve and use their phones anytime they stepped outside. It should be noted that Carter
Center observers did not report any ill-effects from this lapse in sequestration, and there is no evidence that
any vote totals were revealed prematurely. Still, the public perception of such lapses is problematic and
should be addressed when Fulton County moves to its new warehouse in 2023.

Observers also witnessed members of the public and party poll watchers at the Election Preparation Center
being given name tags that said “Election Official” at the top, presumably because these were what the
county had available. There was no evidence that inappropriate access was granted based on these name
tags, but in the future, it would be best to avoid labeling anyone as an election official if they are not.




                                                                                                            17
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 30
                                                                    19 of 61
                                                                          44




Results Reporting
Results reporting was efficient and orderly, with memory cards processed as soon as they arrived at the
Election Preparation Center warehouse from the drop-off locations. Three tables of staff, set up in view of
observers, logged receipt of each location’s sealed transfer bags and had the transport team sign chain-of-
custody paperwork. Staff then proceeded to inventory each returned bag, checking to see that each arrived
appropriately sealed, with all the necessary memory cards, and contained the correct cards for the scanners
in that location. Memory cards were then walked over to the election management server, housed in a corner
of the warehouse’s main room, and results were loaded onto the server. Results of all ballots tabulated
through election night were available by midnight. Given the interest in this process from party poll
watchers, it would be helpful to have an election staff member tasked with explaining the process stationed
with the observers in the future.

Risk-limiting Audit
Fulton County participated in the Nov. 17, 2022, risk-limiting audit (RLA) of the secretary of state contest.12
The audit began at 8 a.m., proceeded smoothly, and was completed by 10a.m.
Audit Premises
The Fulton County audit was conducted at the Georgia International Convention Center. There was ample
space for the audit operations (17 audit boards, one vote review panel, ballot storage, a ballot check-
in/check-out station, and data entry). There was a clearly defined space for public observers. The audit floor
was well organized, with plenty of room for monitors to move around without crowding the audit boards.
The ballot storage area was always secure and guarded and ballot containers were well organized in the
storage area. Election workers checked batches in and out of storage, and runners carried containers
between storage and audit boards.
Training for Audit Boards
No audit board training took place during the time observers were present; it is unknown whether any
training was held earlier or whether audit board members were election staff familiar with handling ballots.
The secretary of state’s training video, which focused on counting procedures, was displayed (without
audio) on two screens. Observers reported that audit boards asked supervisors many questions while
auditing the first batches, and fewer questions as the day progressed. This training strategy was adequate
for conveying “sort and stack” counting, and supervisors could easily handle questions, given the lack of
time constraints and the small number of ballots to be audited. The Carter Center recommends that training
be conducted before auditing begins to prepare auditors and election staff for their tasks.
Vote Review Panels
Fulton County staffed one bipartisan vote review panel, but there was nothing to adjudicate, since voter
intent issues occur only on handwritten mail ballots. Of the audit boards observed, only one had a mail
ballot batch, consisting of eight ballots. Most of the observed audited ballots were advance voting (2,302
ballots assigned to one audit board) and election day (847 ballots).
Data Entry
Tally sheets completed by audit boards were entered as soon as auditing was complete. Data entry was
generally done by a team of two, with one checking the other, but observers were not consistently able to
view the computer data entry screens. Best practice calls for both the tally sheet and computer screen to be
readily viewed by observers. In some jurisdictions, this is done by overhead screen projection so that anyone

12
     The Carter Center deployed observers to 34 Georgia counties during the statewide RLA, including Fulton County.


                                                                                                                18
        Case 1:17-cv-02989-AT Document 1629-9
                                       1590-6 Filed 02/13/23
                                                    02/05/23 Page 31
                                                                  20 of 61
                                                                        44



can confirm the accuracy of data entry without interfering with the operators. Again, the process was
adequate for the small amount of data to be entered, but future audits may be more challenging.
In sum, Fulton County conducted its RLA carefully, smoothly, and expeditiously. These findings should
support citizen confidence in the reported outcome. Increased attention to systematizing procedures would
ensure smooth audit operations should more challenging conditions occur in the future.

Conclusion
Overall and within the parameters of its observation efforts, The Carter Center did not observe any election
administration irregularities that would call into question the ability of the Fulton County Department of
Registrations and Elections to administer secure and accessible elections for the citizens of Fulton County.
The minor issues observed and noted in this report are consistent with the kinds of small hiccups that occur
within any complex election administration process; Fulton County residents should feel confident these
snags did not affect the election results. The aspects of the election process the Center observed were clearly
improved from 2020 and demonstrated the implementation of best practices (for example, frequent
reconciliation and prioritization of chain of custody and security).

Election processes are complex logistical exercises. As such, there are always opportunities for continuous
improvement of processes to bolster efficiency and maximize appropriate and contextualized transparency.
This process of continuous improvement relies on the observation of systems and processes and the creation
of monitoring feedback loops so that lessons from one election can be integrated into systems to improve
future elections. It is in this spirit that the Center has offered recommendations and suggestions for
improvement throughout this report.

Finally, The Carter Center notes that the Fulton County Department of Registrations and Elections
cooperated fully with the observation effort and demonstrated an openness to transparency and learning
that is to be commended. The Carter Center thanks the Performance Review Board and Fulton County
Board of Elections and Registration for the invitation to observe the 2022 general election.

Appendices
1.   Memorandum of Understanding
2.   Sample Observer Checklists – Election Day
3.   Code of Conduct of Nonpartisan Election Observers
4.   Signage within the Polling Place
5.   Voting Location Diagrams




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                      Case 1:17-cv-02989-AT     Document 1629-9
                                                         1590-6 Filed 02/13/23
                                                                      02/05/23 Page 32
                                                                                    21 of 61
                                                                                          44
      
                      Case 1:17-cv-02989-AT     Document 1629-9
                                                         1590-6 Filed 02/13/23
                                                                      02/05/23 Page 33
                                                                                    22 of 61
                                                                                          44
      
                      Case 1:17-cv-02989-AT     Document 1629-9
                                                         1590-6 Filed 02/13/23
                                                                      02/05/23 Page 34
                                                                                    23 of 61
                                                                                          44
                Case 1:17-cv-02989-AT Document 1629-9
                                               1590-6 Filed 02/13/23
                                                            02/05/23 Page 35
                                                                          24 of 61
                                                                                44



Appendix 2 – Sample Observer Checklist


                        Fulton County Election Day Observation Checklist – Cover Sheet
Instructions:
Please fill in Part A as soon as you reach the voting location where you are observing, and fill out Part B as
you are leaving the voting location. You will need a separate checklist for each location you observe
throughout the day. Please fill out only the parts applicable to the processes you observed, and thank you!
PART A: Observer Info
Your Name: _______________________________________________________________________
Voting Location Name/Address: ________________________________________________________
Today’s date (e.g. 10/31/22): ________________________
Time you arrive at the voting location (e.g. 2:30 PM): _______________________
Public count of votes cast on the scanner(s) when you arrive: _______________________


PART B: Post-observation Questions
Time you leave the voting location (e.g. 2:30 PM): _______________________
Public count of votes cast on the scanner(s) when you leave: _______________________
(If you answer “no” to any of these, please explain on the “Notes” form)

          Were you allowed to observe?
 B1                                                                                              O Yes   O No
          Were you able to observe all procedures without restrictions?
 B2                                                                                              O Yes   O No
          Did the pollworkers cooperate with you?
 B3                                                                                              O Yes   O No
          Were party pollwatchers able to observe in accordance with pollwatcher rules?
 B4                                                                                              O Yes   O No


I have, to the best of my ability, conducted myself in accordance with the Carter Center’s Code of Conduct
for Observation and provided truthful, complete answers to these questions


_______________________________________________
(Sign on the above line)

                                                                                                                 1
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 36
                                                                        25 of 61
                                                                              44



PART C: Physical Space (Exterior)
(If you answer “no” to any of these, please explain on the Notes form)

          Is there adequate parking in the parking lot?
 C1                                                                               O YesO No O Don’t know
          (i.e. spaces are available if more voters arrive right now)
          Is the required exterior signage present?
          This includes:
                                                                                 O YesO No O Don’t know
 C2            • A sign identifying the voting location (“Vote Here” etc.)
               • A sign marking the 150ft electioneering boundary

          Are there clearly-marked accessible parking spots?
 C3       (i.e. blue lines and obvious signage)                                   O YesO No O Don’t know

          Is there an accessible path from the parking space to the building
          entrance (paved and clear of stairs, narrow doorways, and physical
                                                                                 O YesO No O Don’t know
 C4       obstacles that would make it hard for a wheelchair user or visually-
          impaired person to enter)?

          Is the wheelchair-accessible entrance to the building the main
 C5       entrance or a side/back entrance?                                        O Main   O Side/back

          Is the wheelchair-accessible entrance clearly marked?
 C6                                                                              O Yes O No O Don’t know
          Is the wheelchair-accessible entrance unlocked?
                                                                                 O Yes O No O Don’t know
 C7
          Are the doors light enough to open easily *OR* have button-
          activated openers?
 C8                                                                              O Yes O No O Don’t know
          (Either option is acceptable)

          Are there campaign materials or campaign activity outside the 150-
 C9       foot radius of the voting location?                                    O Yes O No O Don’t know

          Are there campaign materials or campaign activity visible inside
 C10      the 150-foot radius of the voting location?                            O Yes O No O Don’t know

          Is there tension or unrest in the area around the voting location?
 C11      (If yes, please describe in Notes section)                             O Yes O No O Don’t know

          Is there any indication of pressure/intimidation of voters in the
          area around the voting location?
 C12                                                                             O Yes O No O Don’t know
          (If yes, please describe in Notes section)

          Are people blocking access to the voting location or acting
 C13                                                                             O Yes O No O Don’t know
          violently?

                                                                                                           2
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 37
                                                                        26 of 61
                                                                              44



          (If yes, please describe in Notes section)



PART D: Physical Space (Interior)
(If you answer “no” to any of these, please explain on the Notes form)

           Is there an accessible path through the building from the exterior
           door to the voting location?
           (e.g. smooth and clear of stairs, narrow doorways, and physical        O Yes O No O Don’t know
 D1
           obstacles that would make it hard for a wheelchair user or
           visually-impaired person to navigate)

           How many check-in stations are set up?
 D2                                                                               Count:
           How many voting stations are set up (including accessible
 D3        stations)?                                                             Count:

           How many scanning stations are set up?                                 Count:
 D4
           Is a separate station set up to process voters who need provisional
                                                                                  O Yes O No O Don’t know
 D5        ballots (separate from the normal check-in table)?

           Is there a clear flow indicated in the room – where voters should
                                                                                  O Yes O No O Don’t know
 D6        go 1st, 2nd, 3rd etc?

           Are people able to move smoothly around the room to complete
                                                                                  O Yes O No O Don’t know
 D7        each step of the voting process?

           Is there enough space for a wheelchair to maneuver through each
 D8        station to complete the voting process?                                O Yes O No O Don’t know

           Is a lower-height accessible voting station, suitable for a chair or
 D9        wheelchair, available for use?                                         O Yes O No O Don’t know

           Are all voting stations, including the accessible station, placed to
 D10       ensure ballot secrecy (no one should see the screen)?                  O Yes O No O Don’t know

           Are accessibility aids (headphones, accessible keypads, etc)
 D11       available at the accessible station?                                   O Yes O No O Don’t know

           Is all appropriate signage present?                                    O Yes O No O Don’t know
 D12
           This includes:

                                                                                                            3
             Case 1:17-cv-02989-AT Document 1629-9
                                            1590-6 Filed 02/13/23
                                                         02/05/23 Page 38
                                                                       27 of 61
                                                                             44



          (Outside Voting Location)
              a. Vote Here signs
              b. 150 ft No Campaigning
              c. Accessible parking signs
          (Inside Voting Location)
              d. Poll Worker Area
              e. No Leaving With Ballot
              f. Large Print Viewing
              g. Voter Notice (Wrong/Incorrect Ballot)
              h. Ballot Review
              i. Georgia Voting Information
              j. Card of Instructions
              k. Identification Required
              l. Notice of Penalties
              m. Sample Ballots (2)
              n. Prohibition of Electronics Notice
              o. Magnified Ballot Request
              p. Notice to Voters 75 Years & Older
              q. Acceptable Proof of Citizenship
              r. Video Surveillance
          (At Each Voting Station)
              s. Voting Instructions
              t. Large Print Viewing
              u. Voter Notice
              v. Return Voter Card
D13: Draw the approximate layout of the voting area. Example:
Use arrows to indicate voter flow, be sure to mark entrances/exits, and indicate which voting booths are
lower/accessible. If a drop box or separate provisional ballot processing station are used, draw those.




                                                                                                           4
             Case 1:17-cv-02989-AT Document 1629-9
                                            1590-6 Filed 02/13/23
                                                         02/05/23 Page 39
                                                                       28 of 61
                                                                             44



PART F: Pollworkers & Others

          How many pollworkers are present, including the head
                                                                                 Count:
 F1       pollworker? [2-digit number]

          How many party pollwatchers did you observe while you were
                                                                                 Count:
 F2       there?

          If pollwatchers are present, what parties did they represent (if you
          can tell)?
 F3                                                                                       DEM   REP
          (Circle all that apply)

          Did a pollworker check the credentials of all pollwatchers present?
 F4                                                                              O Yes O No O Don’t know
          Were any pollwatchers disruptive?
 F5                                                                              O Yes O No O Don’t know
          Did pollwatchers attempt to challenge any voters?
 F6                                                                              O Yes O No O Don’t know
          Are media present at this voting location?
 F7                                                                              O Yes O No O Don’t know
          IF YES: what media outlet do they represent?
 F8                                                                              Outlet:
          Are uniformed law enforcement or security present?
 F9                                                                              O Yes O No O Don’t know
          Did anyone report a problem to you that you did not directly
          observe?
 F10                                                                             O Yes O No O Don’t know
          (If yes, describe on the Notes sheet)

          Did you witness anyone being removed from the voting location
          for any reason?
 F11                                                                             O Yes O No O Don’t know
          (If yes, describe on the Notes sheet)



PART G: Voting Procedures

                                                                                 O Always
          Are voters being asked to present valid photo ID at check-in (or       O Mostly
 G1       providing one without being asked)?
                                                                                 O Sometimes
                                                                                 O Never
          Are pollworkers scanning the voter’s ID into the Poll Pad OR           O Always
          manually entering their name to find the voter’s record and verify     O Mostly
 G2
          that they are on the voter list?                                       O Sometimes
                                                                                 O Never
                                                                                                           5
         Case 1:17-cv-02989-AT Document 1629-9
                                        1590-6 Filed 02/13/23
                                                     02/05/23 Page 40
                                                                   29 of 61
                                                                         44



                                                                             O Always
      Are voters being asked to check their current information on the       O Mostly
G3    Poll Pad and then signing their name onscreen?
                                                                             O Sometimes
                                                                             O Never
                                                                             O Always
      Are voters able to use the BMD without confusion/questions?            O Mostly
G4    (If no, describe in the Notes section)
                                                                             O Sometimes
                                                                             O Never
                                                                             O Always
      Are voters being prompted to check their printed summary ballot        O Mostly
G5    before inserting it into the scanner?
                                                                             O Sometimes
                                                                             O Never
                                                                             O Always
      Are voters checking their summary ballot (any time after printing      O Mostly
G6    but before placing it into the scanner)?
                                                                             O Sometimes
                                                                             O Never
                                                                             O Always
      Are voters placing their own ballot in the ballot scanner?             O Mostly
G7
                                                                             O Sometimes
                                                                             O Never
      Are voters able to use the ballot scanner without                      O Always
      confusion/questions?                                                   O Mostly
G8
      (If no, describe in the Notes section)                                 O Sometimes
                                                                             O Never
      How many times did you see the ballot scanner return a ballot to
G9    the voter/fail to scan the first time a ballot is inserted?            Count:

                                                                             O Always
      Are voters returning their voter card to a pollworker before           O Mostly
G10
      leaving?                                                               O Sometimes
                                                                             O Never
      How many times did a voter exit the voting location with either
      their paper summary ballot or their voter card instead of turning it
G11                                                                          Count:
      in?

                                                                             O Always
                                                                             O Mostly
G12   Are voters offered an “I Voted” sticker before they leave?
                                                                             O Sometimes
                                                                             O Never

                                                                                           6
         Case 1:17-cv-02989-AT Document 1629-9
                                        1590-6 Filed 02/13/23
                                                     02/05/23 Page 41
                                                                   30 of 61
                                                                         44



      How many times did a voter ask for language assistance?              Count:
G13
      How many times did a voter ask for a caretaker or helper to assist
                                                                           Count:
G14   with voting?

      Did any voter(s) ask to spoil their ballot and start over after
      printing?
G15   (If yes, describe why on Notes form – voter mistake, voter thinks    O Yes O No O Don’t know
      printout is wrong, etc.)

      Did the scanner ballot box fill to capacity/need to be emptied at
G16
      any point?                                                           O Yes O No O Don’t know

      IF YES, did pollworkers do the following in view of the public:
      announce what was happening, break the seal on the ballot box,
      remove ballots to the black ballot transport bag, seal the black
G17   ballot transport bag, seal the ballot box, and fill out the ‘Voted   O Yes O No O N/A
      Ballot Removal Form’ and the ‘Scanner Recap Sheet’ with the new
      seal numbers and other appropriate information?

      Did any voter use their phone in the voting location?
G18                                                                        O Yes O No O Don’t know
      Is anyone using derogatory or abusive language towards
      pollworkers or voters?
G19                                                                        O Yes O No O Don’t know
      (If yes, describe the situation in Notes)

      Did anyone attempt to inappropriately access, manipulate, or
      otherwise interfere with any voting equipment?
G20                                                                        O Yes O No O Don’t know
      (If yes, describe the situation in Notes)

      Were any voters above 75 years of age or voters with disabilities
G21   invited to skip the line?                                               O Yes O No O N/A

      Did anyone lodge an official complaint with the pollworkers while
G22   you were there?                                                      O Yes O No O Don’t know

                                                                           O Very Good
                                                                           O Good
G23   The overall voting process in this voting location is:               O Average
                                                                           O Bad
                                                                           O Very Bad


                                                                                                     7
             Case 1:17-cv-02989-AT Document 1629-9
                                            1590-6 Filed 02/13/23
                                                         02/05/23 Page 42
                                                                       31 of 61
                                                                             44



PART H: Voting Procedures for Special Circumstances

          VOTER NOT ON LIST:                                                      O Always
          Are voters not on the voter list (either via the Poll Pad or on the     O Mostly
 H1       supplemental list) being redirected to the provisional ballot           O Sometimes
          station and offered a provisional ballot?                               O Never
                                                                                  O N/A
          VOTER IN WRONG PLACE:
          Are voters being redirected to the correct location or, if they want
                                                                                  O Always
          to vote at this location:
              - BEFORE 5 PM, being told that they can cast a provisional          O Mostly
                 ballot but it will not count                                     O Sometimes
              - AFTER 5 PM, being told that they can cast a provisional           O Never
                 ballot and the contests that they are eligible to vote in will   O N/A
                 count

                                                                                  O Always
          NO ACCEPTABLE ID:                                                       O Mostly
          Are voters who are told they lack acceptable ID being offered a
 H2                                                                               O Sometimes
          provisional ballot?
                                                                                  O Never
                                                                                  O N/A
                                                                                  O Always
          VOTER SENT MAIL BALLOT:                                                 O Mostly
          If the Poll Pad shows voters were sent a mail ballot, are
 H3                                                                               O Sometimes
          pollworkers asking voters to surrender/cancel their mail ballot
                                                                                  O Never
          before being allowed to vote?
                                                                                  O N/A
          VOTER SENT MAIL BALLOT – CANNOT SURRENDER:
          If voters who were sent a mail ballot do not have their ballot with     O Always
          them, are pollworkers:                                                  O Mostly
          - confirming that the county has not received the mail ballot
 H4                                                                               O Sometimes
          before allowing the voter to vote as normal, or
                                                                                  O Never
          - if the county has received the ballot/is not available, only
                                                                                  O N/A
          allowing a voter to vote a provisional ballot (if they wish)?

          VOTER ALREADY VOTED IN PERSON:                                          O Always
          If the Poll Pad shows voters have already voted early in-person,
                                                                                  O Mostly
          are pollworkers asking the voter whether they have already voted
                                                                                  O Sometimes
 H5       and:
                                                                                  O Never
               - If the voter says yes, refusing them any ballot and
                  providing contact information for the county to answer          O N/A
                  any questions

                                                                                                8
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 43
                                                                        32 of 61
                                                                              44



              -      If the voter says no, only allowing the voter to vote a
                     provisional ballot (if they wish)?

           CHALLENGED VOTER:                                                      O Always
           If the Poll Pad shows voters have been challenged, are voters          O Mostly
           offered the chance to cure via an affidavit or, if they cannot cure,
 H6                                                                               O Sometimes
           redirected to the provisional ballot station and offered a
                                                                                  O Never
           challenged provisional ballot?
                                                                                  O N/A


PART J: Efficiency

           How long did a typical voter have to wait in line before voting?
           (To measure, pick a voter who has just entered the line and time
 J1        how long it takes until they reach the front of the line. E.g. “10     Time:
           minutes”)

           How long did it take a typical voter to complete the voting
           process?
           (To measure, pick a voter who has just started to check in and time
 J2                                                                            Time:
           how long it takes until they cast their ballot and exit. E.g. “10
           minutes”)

           What was the longest line you saw, and at what time did this
           occur?                                                                 Length:
 J3
           (e.g. “23 people, 7 am”)                                               Time:

           Was the number of pollworkers sufficient for a timely and orderly
 J4        process?                                                               O Yes O No O Don’t know




                                                                                                            9
             Case 1:17-cv-02989-AT Document 1629-9
                                            1590-6 Filed 02/13/23
                                                         02/05/23 Page 44
                                                                       33 of 61
                                                                             44



PART X: Notes and Other Observations
Use these pages to either:
   -   Give more detail on your answers to any question earlier on the form
   -   Describe other observations you feel are important to record
For each comment, include a reference to the question ID from the form. Start a new row for each question.
For comments not related to any specific questions in the form, put “0” in the question ID column.
EXAMPLE:
G13 10:30-11:00. Long discussions with challengers from another nonpartisan organization about the
location of this polling station. It is located in a building owned by one of the candidates.

 Question     Commments
 ID




                                                                                                         10
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 45
                                                                        34 of 61
                                                                              44



Fulton County Election Day Checklist – OPENING THE POLLS
PART E: Opening the Polls
(If you answer “no” to any of these, please explain on the Notes form)

         Are all poll workers in attendance?
 E1                                                                O Yes O No O Don’t know

         Are all poll workers sworn in?
 E2                                                                O Yes O No O Don’t know

         Are all poll workers wearing name badges?
 E3                                                                O Yes O No O Don’t know

         (Check-in station) Do poll workers check that the
 E4      serial numbers on Poll Pad case and tablet match?         O Yes O No O Don’t know

         (Check-in station) Do poll workers check that the Poll
         Pad tablet is turned on and functioning correctly?
 E5                                                                O Yes O No O Don’t know


         (Check-in station) Do poll workers check that the Poll
 E6      Pad is set for the correct polling location?              O Yes O No O Don’t know


         (Check-in station) Do poll workers check that the
 E7      check-in count reads zero?                                O Yes O No O Don’t know


         (Check-in station) Is the supplemental voter list
 E8      present?                                                  O Yes O No O Don’t know


         (Check-in station) Is the paper backup voter list
 E9      present?                                                  O Yes O No O Don’t know

         (Equipment carriers) Do poll workers verify the seal
         numbers on the doors of the equipment carriers
         match the numbers on the “Equipment Carrier/Voting
         Booth Security Seals Form” before seals are
 E10     broken/doors are opened?                                  O Yes O No O Don’t know
         (This refers to the grey doors into the supply/scanner
         areas of the carriers, not the black doors over the
         voting stations)



                                                                                             11
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 46
                                                                    35 of 61
                                                                          44



      (Scanner in equipment carrier) Do poll workers verify
      that the seals on the Emergency Ballot Box door
      (above the scanner) and the Ballot Box door match
      the number on the “Scanner/Ballot Box Recap Form,”
E11   before opening both boxes, confirming that they are       O Yes O No O Don’t know
      empty, resealing them, and noting the new seal
      numbers on the recap forms?



      (Scanner in equipment carrier) Do poll workers verify
      that the two seals on the front of the scanner are
E12   intact, and match the numbers on the Scanner/Ballot       O Yes O No O Don’t know
      Box recap form?

      (Voting Stations) Do poll workers verify the seal
      numbers on the black doors securing the BMDs in the
      equipment carriers match the numbers on the
      “Equipment Carrier/Voting Booth Security Seals
E13   Form” before seals are broken/doors are opened?           O Yes O No O Don’t know
      (This refers to the black doors that enclose the
      touchscreens in the carriers, not the grey doors)


      (Voting Stations) Once the black doors are opened, do
      poll workers check the seal/serial numbers on the
      sides of the BMDs – WITHOUT OPENING SEALS - and
      record them on the recap sheet?
E14                                                             O Yes O No O Don’t know
      (two seals on the left side of the touchscreen, top and
      bottom, and one on the upper right side)

      (Voting Stations) Do poll workers check that the
      voting machines are turned on and functioning
E15   correctly?                                                O Yes O No O Don’t know


      (Voting Stations) Do poll workers check that the
E16   date/time on each machine is correct?                     O Yes O No O Don’t know


      (Voting Stations) Do poll workers check that the
E17   public counter on each machine reads zero?                O Yes O No O Don’t know

                                                                                          12
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 47
                                                                    36 of 61
                                                                          44




      (Standalone Scanning Station) Do poll workers check
      the seals on both the Ballot Box and the Emergency
      Ballot Box match the recap form before opening both
                                                               O Yes O No O Don’t know
E18   boxes, confirming that they are empty, resealing
      them, and noting the new seal numbers on the recap
      form?

      (Standalone Scanning Station) Do poll workers check
      the rest of the existing seal numbers on the scanner –
      WITHOUT OPENING THEM - and record them on the
      recap sheet?
E19                                                            O Yes O No O Don’t know
      (Admin & Poll Worker memory card slots, scanner
      lock)


      (Standalone Scanning Station) Do poll workers check
E20   that the date/time is correct?                           O Yes O No O Don’t know


      (Standalone Scanning Station) Do poll workers check
      that the ballot counter is zeroed, and the two zero
E21   reports are printed & stored?                            O Yes O No O Don’t know


      Are poll workers comfortable with the technology &
E22   setup process?                                           O Yes O No O Don’t know

      If poll workers had a problem, did they know how to
      contact HQ and resolve it?
      (Please describe any issues on Notes form: missing
E23                                                            O Yes O No O Don’t know
      materials, machine malfunctions, procedural
      confusion etc.)

      Did the voting location open on time at 7 AM?
E24                                                            O Yes O No O Don’t know

      IF NO: at what time did the voting location open for
E25   voting?                                                  Time:

      If the voting location opened late, what was the         O Missing materials
E26   cause?                                                   O Absent pollworkers
                                                               O Locked facility

                                                                                         13
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 48
                                                                        37 of 61
                                                                              44



                                                                  O Not set-up
                                                                  O Unrest
                                                                  O Other (add Notes)
                                                                  O N/A
         How many people were in line at polls open?
 E27                                                              Count:

                                                                  O Very Good
         The overall conduct of the opening of this voting        O Good
 E28     location was:                                            O Average
                                                                  O Bad
                                                                  O Very Bad




Fulton County Election Day Checklist – CLOSING THE POLLS
PART I: Closing the Polls
(If you answer “no” to any of these, please explain on the Notes form)

         At 7 PM, do pollworkers:
             - announce that polls are closed,
             - position a pollworker at the end of the line to
 I1             ensure that no one in line after 7 pm is           O Yes O No O Don’t know
                allowed to vote, and
             - allow voters already in line to vote?



         If the county notifies pollworkers that a court has
 I2      ordered polls to stay open longer, do the pollworkers     O Yes O No O Don’t know
         comply?

         At what time did the last voter cast their ballot?
 I3                                                               Time:
         (e.g. “7:04 pm”)

         (Check-in Stations) Do pollworkers note the final
         check-in number for each Poll Pad on the Poll Pad
 I4      Recap Sheet before turning them off and storing           O Yes O No O Don’t know
         them?

         (Voting Stations) Do pollworkers record the total
 I5                                                                O Yes O No O Don't know
         count of voters for each voting machine on the


                                                                                             14
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 49
                                                                    38 of 61
                                                                          44



      Touchscreen Recap Sheets before turning off the
      machines?

      (Voting Stations) Do pollworkers recheck and/or
      replace the necessary seals and record seal numbers
I6    on the Touchscreen Recap Sheets when sealing the          O Yes O No O Don't know
      black doors in front of the touchscreens?

      (Scanning Stations) Do pollworkers unseal the
      emergency ballot box on the scanner, scan any ballots
      found there through the scanner, and then reseal the
I7    emergency ballot box, noting the new seal number on       O Yes O No O Don’t know
      the Scanner/Ballot box Recap Form?

      (This must be done prior to printing the results tape)
      (Scanning Stations) Do pollworkers record the public
      count on the Scanner/Ballot Box Recap Form and the
I8    Ballot Recap Sheet before printing the results tape       O Yes O No O Don’t know
      and turning off the scanners?

      (Scanning Station) Do pollworkers close polls and
      print 3 copies of the results tape, posting one copy on
I9                                                              O Yes O No O Don’t know
      the door/window of the polling place?

      (Scanning Station) Do pollworkers unseal & remove
      the memory card(s) from the scanner(s), sealing it in
                                                                O Yes O No O Don’t know
I10   the yellow memory card transport bag and resealing
      the memory card slot on the scanner?

      Do pollworkers unseal & remove ballots from the
      ballot box in the scanner(s), sealing them in the black   O Yes O No O Don’t know
I11
      ballot transport bag?

      Did the sealed ballot bag and all other materials to be
      transferred remain in sight of the pollworkers until
I12                                                             O Yes O No O Don’t know
      they were loaded into a vehicle for transfer?

      Was the yellow memory card bag dispatched to a
I13                                                             O Yes O No O Don’t know
      team of (2) runners to return to the election office?



                                                                                          15
          Case 1:17-cv-02989-AT Document 1629-9
                                         1590-6 Filed 02/13/23
                                                      02/05/23 Page 50
                                                                    39 of 61
                                                                          44



      Are any spoiled or unaccompanied ballots
      documented on the Spoiled and Unaccompanied               O Yes O No O Don’t know
I14
      Ballot Recap Sheet and properly stored?

      Are any provisional ballots documented on the
I15   Provisional Ballot Recap Sheet and properly stored?       O Yes O No O Don’t know

      Are Poll Pads, unused paper ballots, recap sheets and
      the numbered list of voters, the supplemental voters
      list and the backup paper voters list,
I16                                                             O Yes O No O Don’t know
      spoiled/provisional/unaccompanied ballots and other
      materials securely sealed and stored?

      Do pollworkers check to make sure that the number
      of check-ins from the Poll Pad(s) matches the public
      count on the BMDs and the public count on the
I17   scanner?                                                  O Yes O No O Don’t know
      (Note that spoiled, emergency, & unaccompanied
      ballots may also need to be factored in.)

      Did the pollworkers have difficulties in completing the
      closing procedure and paperwork?                          O Yes O No O Don’t know
I18


                                                                O Very Good
                                                                O Good
I19   The overall closing process in this voting location is:   O Average
                                                                O Bad
                                                                O Very Bad




                                                                                          16
                Case 1:17-cv-02989-AT Document 1629-9
                                               1590-6 Filed 02/13/23
                                                            02/05/23 Page 51
                                                                          40 of 61
                                                                                44



Appendix 3 – Nonpartisan Observer Code of Conduct



                                 Election Observer Code of Conduct

The purpose of election observation is to help ensure the integrity of the election process, by witnessing and reporting
accurately and impartially on each aspect of the process to evaluate whether it is conducted in an open and transparent
manner and in conformity with applicable laws and electoral regulations. Election observation and monitoring also seeks
to ensure the integrity of the election process by calling on all electoral actors (including the candidates, political parties,
those supporting or opposing referendum initiatives, election officials, other governmental authorities, mass media, and
voters) to respect the laws and election-related rights of all citizens and to hold accountable those who violate the law
or any person’s election-related rights.



While serving as a Nonpartisan Election Observer, I will:



    •   Be an informed observer
            o I will complete all required election observation training, familiarize myself with relevant election law
                and processes prior to the election, and adhere to the observation methods used by The Carter Center.

    •   Be an objective observer
            o I will report what I see – whether positive or negative – impartially, accurately, and in a timely manner. I
               will adhere to the highest standards of accuracy of information and impartiality of analysis. I will
               document my observations and return this documentation to The Carter Center. If I report a serious
               problem, I will include documentation sufficient to allow for verification.

    •   Respect the election process
           o I will respect state and federal election laws, follow the instructions of election officials, and maintain a
               respectful and professional attitude at all times.

    •   Remain politically neutral
           o I will not publicly express or exhibit any preference for or against any candidate, political party, initiative,
               or public official.

    •   Protect the integrity of the election
            o I will not interfere with election processes or procedures. If I have objections or concerns, I will elevate
                them using the methods from my training.


    •   Follow the rules and guidance of the observer organizations
            o I will follow this code of conduct, and any written or verbal instructions given by the Carter Center’s
                observation effort leadership. I will report any conflict of interest that I may have and report any
                improper behavior that I see conducted by any other observers that are part of this effort.



                                                                                                                             11
               Case 1:17-cv-02989-AT Document 1629-9
                                              1590-6 Filed 02/13/23
                                                           02/05/23 Page 52
                                                                         41 of 61
                                                                               44



   •    Refrain from speaking about the observation process on social media, to the media or to the public
            o I will refrain from making any personal comments on my observations to the media or members of the
                public (including through social media). I will refer all media enquiries to The Carter Center leadership
                team.


I understand that my violation of this Code of Conduct may result in my accreditation as observer being withdrawn and
my dismissal from the observation effort.




NAME (please print):


Signature:


Date:




                                                                                                                        12
            Case 1:17-cv-02989-AT Document 1629-9
                                           1590-6 Filed 02/13/23
                                                        02/05/23 Page 53
                                                                      42 of 61
                                                                            44




Voting Area Posters and Signs
Signs to be placed INSIDE POLLING SITE:




                      NO LEAVING WITH                           VOTER NOTICE
POLL WORKER AREA                             LARGE PRINT                          BALLOT REVIEW
                           BALLOT
                                               VIEWING




                                                                GEORGIA VOTING   SAMPLE BALLOT -
VIDEO SURVEILLANCE        PROOF OF        NOTICE OF PENALTIES
                                                                 INFORMATION      WALL POSTERS
                        CITIZENSHIP
                                                                                   *Sample Ballot flyers
                                                                                 will also be provided for
                                                                                  distribution to voters*




     CARD OF          IDENTIFICATION
  INSTRUCTIONS           REQUIRED         NOTICE TO VOTERS 75   PROHIBITION OF
                                               OR OLDER          ELECTRONICS




Fulton County Poll Worker University                                                                         17
              Case 1:17-cv-02989-AT Document 1629-9
                                             1590-6 Filed 02/13/23
                                                          02/05/23 Page 54
                                                                        43 of 61
                                                                              44



Appendix 5: Voting Location Diagrams

As part of their checklist, observers were asked to make a rough sketch of the layout of each voting location
they observed. They are included here to show variation in layout and placement of the equipment containers.
From top to bottom, the diagrams show: Sutton Middle School, Roswell High School, and Buckhead Library.
Case 1:17-cv-02989-AT Document 1629-9
                               1590-6 Filed 02/13/23
                                            02/05/23 Page 55
                                                          44 of 61
                                                                44
Case
Case1:17-cv-02989-AT
     1:17-cv-02989-AT Document
                      Document1629-9
                               1590-10Filed
                                        Filed
                                            02/13/23
                                              02/05/23Page
                                                       Page561of
                                                               of61
                                                                  6




  EXHIBIT 10
      Case
      Case1:17-cv-02989-AT
           1:17-cv-02989-AT Document
                            Document1629-9
                                     1590-10Filed
                                              Filed
                                                  02/13/23
                                                    02/05/23Page
                                                             Page572of
                                                                     of61
                                                                        6




                                        October 3, 2020

By Email

Cheryl Ringer
Office of the County Attorney
141 Pryor St., SW
Suite 4038
Atlanta, Georgia 30303

               Re: Fulton County Board of Elections’ Ongoing Violations of State Law

Dear Cheryl:

        The Fulton County Board of Elections has made many recent and welcome efforts
to make voting more convenient and accessible. We enthusiastically commend such
efforts. Given the Secretary of State’s numerous reckless decisions regarding the
upcoming election, however, Fulton is being lured into serious violations of Georgia’s
Election Code, as detailed below.

       This week the Secretary of State disclosed that all of the existing software (and
data, including evidence, from prior elections required to be preserved) must be wiped
from the BMDs and replaced with new, uncertified, untested software that was written
by Dominion just this past weekend. Fulton is complying with the State’s ill-considered
instructions, despite the fact that such actions are in plainly in violation of the Georgia
Election Code.

       You and the Board Members will recall that the Secretary unfairly blamed the
Board for the “complete meltdown” that was the June Presidential Primary. The
Secretary is either deliberately setting up the Board again to take the blame for another
meltdown, or is recklessly unable to deploy its new systems in compliance with state law
or federal constitutional requirements. Either way, the Board should not, and as a
matter of Georgia law, cannot, allow it to continue.

         We are confident that if the Board is made aware of these statutory violations that
it will immediately bring Fulton County into compliance. The Board can do so by
invoking the provisions for O.C.G.A. § 21-2-281, which allow the Board to switch to hand
marked paper ballots in the event that using the BMDs is impossible or
impracticable. The conditions are expanded by State Election Board Rule 183-1-12-
.11(2) (c) stating that if the BMDs are unusable, impracticable or impossible for voting
(c), and 183-1-12-.11(2)(d) adding that if insufficient BMDs are available, hand
marked paper ballots should be used.


                 (404) 881-0700 | 1123 Zonolite Rd., Suite 6, Atlanta, Georgia 30306
                    www.brucepbrownlaw.com | bbrown@brucepbrownlaw.com
      Case
      Case1:17-cv-02989-AT
           1:17-cv-02989-AT Document
                            Document1629-9
                                     1590-10Filed
                                              Filed
                                                  02/13/23
                                                    02/05/23Page
                                                             Page583of
                                                                     of61
                                                                        6

Ms. Cheryl Ringer
October 3, 2020
Page 2



      What follows a partial list of the Georgia statutes and Rules that the Board is
currently violating:

       1.     Illegal software is being installed on Fulton’s BMDs (violation of
              O.C.G.A. §§ 21-2-368(d); 21-2-379.24; 21-2-300(a)(3))

       Georgia law requires, at a bare minimum, that the following three steps be taken
before voting system software may be used on election equipment:

       First, O.C.G.A. §21-2-300(a)(3) requires that the system be certified by the
federal EAC. At this very moment, Dominion technicians, at the direction of the
Secretary, are installing new software on Fulton’s BMDs, software that Dominion has
confirmed to Judge Totenberg has not been certified by the EAC. This is not just a
“patch” or revision: the prior election software is being wiped from the equipment and
replaced in its entirely by new, uncertified, untested software. This software has never
been run in any election in any jurisdiction—not even a mock election—and was written
this past weekend.

      Second, Voting System Rule 590-8-1.01(d)(6) requires that, after the system is
EAC certified, it be sent to a state certification agent for further testing and a report.
With no EAC certification, this of course has not occurred.

        Third, Voting System Rule 590-8-1.01(d)(7) requires that, after the state
certification agent issues its report, the Secretary of State must make a determination
whether to certify the system. Certification of new voting systems is required by O.C.G.A
§ 21-2-379.24. The Secretary certified the prior BMD system, but not the system that
Dominion technicians are installing on Fulton’s BMDs this week.

       Further, O.C.G.A. § 21-2-368(d) requires the Fulton Board: “At least ten days
prior to any primary or election, including special primaries, special elections, and
referendum elections, the election superintendent shall verify and certify in writing to
the Secretary of State that all voting will occur on equipment certified by the
Secretary of State.”

      Early voting begins in ten days and this Board has not, and cannot, make the
necessary certification without misrepresenting the undisputed facts.

       These are not hyper-technical or bureaucratic requirements, but mandatory
provisions of Georgia law that were enacted to protect the security and reliability of the
voting systems and voters’ constitutional rights to cast an accountable ballot. Untested
and uncertified software can create errors in the operation and tallies of the BMDs and
can carry bugs and malware into the database that can affect absentee ballots, reporting
capabilities, and possibly pollbooks.
      Case
      Case1:17-cv-02989-AT
           1:17-cv-02989-AT Document
                            Document1629-9
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                                                  02/13/23
                                                    02/05/23Page
                                                             Page594of
                                                                     of61
                                                                        6

Ms. Cheryl Ringer
October 3, 2020
Page 3



       2.     Fulton is not conducting mandatory acceptance testing of the
              new software (violation of Election Rule 183-1-12-03(1))

       The Secretary of State’s Voting Systems Rule 590-8-1-.01(d)(8) states,
“[a]cceptance tests shall be performed in the user's environment to demonstrate that the
voting system as delivered and installed is identical to the system that was certified by
the State and satisfies the requirements specified in the procurement documents.”

       State Election Board Rule 183-1-12-03(1) states: “Upon the receipt of new,
repaired, or upgraded components of the voting system, including electronic ballot
markers . . . the election superintendent of the county is responsible to check that an
acceptance test has been performed on the device in accordance with standards issued
by the Secretary of State. No component of the voting system shall be placed into service
until such time as the unit satisfactorily passes the prescribed acceptance tests.”

        Crucially, this Election Rule gives the Board the responsibility of assuring that
satisfactory acceptance testing has been conducted. But Fulton has not done any
acceptance testing or generated any of the required documentation. The Board is about
to “place into service” components that have not passed “the prescribed acceptance
tests,” in complete violation of this Rule.

       3.     Fulton is failing to conduct complete Logic and Accuracy Testing
              (violation of O.C.G.A. §§ 21-2-379.25 (a) and (c))

       O.C.G.A. §§ 21-2-379.25 (a) and (c) require that the county “verify that each
device is properly recording votes and producing proper ballots,” and that “the
superintendent shall have each electronic ballot marker tested to ascertain that it will
correctly record the votes cast for all offices and on all question.”

        Testing being conducted by Fulton, based on the Secretary’s guidance, does not
comply with this statute because it fails to “have each electronic ballot marker tested …
for all offices and on all questions.” As laid out in detail in the Curling v. Raffensperger
litigation and discussed extensively in recent conferences with the Court where this
Board was represented, the Secretary’s procedure for LAT falls far short of the minimum
statutory requirements that this Board is obligated to obey. The Secretary of State’s
representative testified in a recent hearing that conducting the LAT on BMD units at the
levels required by statute is impractical and too time consuming to accomplish. The
Board, however, remains legally obligated to voters to ensure that the statutorily
required LAT be conducted.
      Case
      Case1:17-cv-02989-AT
           1:17-cv-02989-AT Document
                            Document1629-9
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                                                  02/13/23
                                                    02/05/23Page
                                                             Page605of
                                                                     of61
                                                                        6

Ms. Cheryl Ringer
October 3, 2020
Page 4



       4.     Fulton is failing to review accuracy of the election database
              (violation of Rules 183-1-12-.19 (5); 183-1-12-07(1))

      Election Board Rule 183-1-12-07(1) states that “the election superintendent shall
review the electronic databases used to generate ballots for correctness and accuracy.”

        Election Board Rule 183-1-12-(.19)(5) requires that “the county election
superintendent shall provide to the Secretary of State or his or her designee a final copy
of the election management system database for the county.”

       Again, in this Rule the State Election Board has transferred the responsibility for
database review to this Board. We do not believe that Fulton is conducting the required
database review for accuracy of its voluminous contents and configuration of the ballots
and tabulation instructions, as required by the Election Code, or that it is sending a final
corrected database to the Secretary prior to the election.

       5.     Violation of absolute secrecy in voting (O.C.G.A. §§ 21-2-379.22(5)
              and 21-2-70)

       O.C.G.A. § 21-2-70 directs this Board to guarantee the secrecy of the ballot:

       Each superintendent within his or her county or municipality shall
       exercise all the powers granted to him or her by this chapter and shall
       perform all the duties imposed upon him or her by this chapter, which
       shall include the following: . . .

       (13) To conduct all elections in such manner as to guarantee the
       secrecy of the ballot.

The large well-lit BMD displays, however, advertise Fulton voters’ votes to others
in the polling place. O.C.G.A. § 21-2-379.22 further provides:

       No electronic ballot marker shall be adopted or used in primaries or
       elections in this state unless it shall, at the time, satisfy the following
       requirements: . . .

       (5) Permit voting in absolute secrecy so that no person can see or know
       any other elector's votes, except when he or she has assisted the elector in
       voting, as prescribed by law;

Fulton’s failure to take necessary action to ensure ballot secrecy not only is violating
voters’ rights but also invites challenges to the outcome because the secrecy of the ballot
is not being guaranteed.
      Case
      Case1:17-cv-02989-AT
           1:17-cv-02989-AT Document
                            Document1629-9
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                                                  02/13/23
                                                    02/05/23Page
                                                             Page616of
                                                                     of61
                                                                        6

Ms. Cheryl Ringer
October 3, 2020
Page 5



      Security failures

      There are numerous gravely serious security failures at EPC that must be
addressed. We have detailed some of them in our pleadings in the Curling case, and we
continue to offer, without response from this Board, to have a meeting with the Board or
management to share our concerns in more detail.

      Remedy Provided by the Election Code

       The Georgia Election Code provides for adopting hand marked paper ballots
instead of BMDs in cases like this one where it is impossible or impracticable to do so.
Given that it is impossible to use the system and comply with many mandates of
Georgia law, it is the duty of the Board to adopt hand marked paper ballots, which can
be read with the optical scanner and thoroughly audited. Georgia statutes (O.C.G.A. §§
21-2-281, 21-2-334) call for this solution, and recent SEB Election Rule 183-1-12-
.11(2)(c)-(d) specifically supports its application when BMDs are impractical to use.

      We would very much like the opportunity to discuss our concerns with you and
the Board and urge the Board to not install or use this unreliable, untested and illegal
system.

      Please let me know if you have any questions.


                                         Sincerely,


                                         Bruce P. Brown

cc:   Kaye Burwell
      David Lowman
      Marilyn R. Marks
      Cary Ichter
      Robert A. McGuire
